  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 1 of 56

                                                                                                           Page 1
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




                                                              Affirmed in part, reversed in part, and re-
                                                           manded.
            Court of Appeals of Texas,
               Houston (1st Dist.).                                          West Headnotes
TESORO PETROLEUM CORPORATION and Te-
     soro E & P Company, L.P., Appellants,                 [1] Judgment 228         185(2)
                       v.
                                                           228 Judgment
  NABORS DRILLING USA, INC., Appellee.
                                                              228V On Motion or Summary Proceeding
Nabors Drilling USA, Inc. (Zurich American Insur-
                                                                 228k182 Motion or Other Application
      ance Company, Subrogee), Appellant,
                                                                    228k185 Evidence in General
                       v.
                                                                         228k185(2) k. Presumptions and Bur-
 Tesoro Petroleum Corporation and Tesoro E & P
                                                           den of Proof. Most Cited Cases
            Company, L.P., Appellees.
                                                               A plaintiff moving for summary judgment is
             No. 01–00–00050–CV.                           not under any obligation to negate affirmative de-
                  Dec. 12, 2002.                           fenses.
        Rehearing Overruled June 13, 2003.
                                                           [2] Judgment 228         185(2)
     Oil well drilling contractor's property insurer
                                                           228 Judgment
brought subrogation action against operator to re-
                                                              228V On Motion or Summary Proceeding
cover for loss of rig in blowout. Operator filed
                                                                 228k182 Motion or Other Application
counterclaim and claim against the contractor for
                                                                    228k185 Evidence in General
breach of contract. Contractor then asserted indem-
                                                                         228k185(2) k. Presumptions and Bur-
nity claim against operator for costs of defense and
                                                           den of Proof. Most Cited Cases
settlement of working interest owner's suit. The
                                                               An affirmative defense will prevent a summary
234th District Court, Harris County, Scott A. Bris-
                                                           judgment only if each element of the affirmative
ter, J., entered summary judgment in favor of con-
                                                           defense is supported by summary judgment evid-
tractor and against insurer. Appeals were taken. The
                                                           ence.
Court of Appeals, Davie L. Wilson, J. (Assigned),
held that: (1) operator failed to establish gross neg-     [3] Judgment 228         185(2)
ligence of drilling contractor and, therefore, failed
to establish defense to obligation to indemnify con-       228 Judgment
tractor; (2) contractor's alleged breach of the con-           228V On Motion or Summary Proceeding
tract would not excuse the operator from indemni-                 228k182 Motion or Other Application
fying the contractor; (3) indemnification and re-                    228k185 Evidence in General
lease provisions were enforceable under the safe                         228k185(2) k. Presumptions and Bur-
harbor requirements of the Oilfield Anti–Indemnity         den of Proof. Most Cited Cases
Act (OAIA), even though the contractor released                 A party raising an affirmative defense in op-
the operator from liability for damage to drilling         position to a motion for summary judgment must
rig; (4) contractor's waiver of insurer's subrogation      either (1) present a disputed fact issue on the op-
rights was enforceable; (5) the waiver did not apply       posing party's failure to satisfy his own burden of
to insurer's claim against operator for gross negli-       proof or (2) establish at least the existence of a fact
gence; and (6) factual issues on gross negligence          issue on each element of his affirmative defense by
precluded summary judgment.                                summary judgment proof.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 2 of Page
                                                                       56 2
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




[4] Indemnity 208       104                                   228V On Motion or Summary Proceeding
                                                                 228k182 Motion or Other Application
208 Indemnity                                                            228k185.3 Evidence and Affidavits in
   208V Actions                                           Particular Cases
        208k104 k. Questions for Jury. Most Cited                        228k185.3(8) k. Contracts. Most Cited
Cases                                                     Cases
    A contractual right to indemnity should be de-             In support of affirmative defense to oil well
termined in the same fashion as other contractual         drilling contractor's indemnity claim, the operator
rights—as a matter of law.                                opposing summary judgment bore the burden to
                                                          raise a fact issue on each and every element of con-
[5] Indemnity 208       33(5)
                                                          tractor's alleged gross negligence or willful miscon-
208 Indemnity                                             duct so as to bring the indemnity claim within the
    208II Contractual Indemnity                           exclusions in the indemnity agreement.
       208k33 Particular Cases and Issues
                                                          [9] Indemnity 208       102
          208k33(5) k. Contractors, Subcontractors,
and Owners. Most Cited Cases                              208 Indemnity
     Operator's claim that an oil well drilling con-         208V Actions
tractor committed gross negligence in connection                 208k98 Evidence
with blowout and that the operator was not required                 208k102 k. Weight and Sufficiency. Most
to indemnify the contractor for liability to working      Cited Cases
interest owner was to be determined by facts, not              Operator of oil well failed to establish gross
allegations in owner's pleadings in its suit against      negligence of drilling contractor in connection with
the contractor.                                           leaking blowout preventers and, therefore, failed to
                                                          establish defense to obligation to indemnify con-
[6] Indemnity 208       31(1)
                                                          tractor for its liability to working interest owner;
208 Indemnity                                             the operator's expert did not give an opinion that
    208II Contractual Indemnity                           improperly maintained blowout preventers caused
        208k31 Construction and Operation of Con-         the blowout and the resulting damages, and, thus,
tracts                                                    evidence of causation was insufficient.
               208k31(1) k. In General. Most Cited
                                                          [10] Negligence 272        1501
Cases
     Facts, not allegations, determine an indemnit-       272 Negligence
or's duty to indemnify.                                      272XVIII Actions
                                                                272XVIII(A) In General
[7] Indemnity 208       94
                                                                   272k1501 k. Nature and Form of Remedy.
208 Indemnity                                             Most Cited Cases
   208V Actions                                               Negligence and gross negligence are not separ-
      208k94 k. Defenses. Most Cited Cases                able causes of action, but are inextricably inter-
    A claim that a contractual exclusion precludes        twined.
indemnity is an affirmative defense.
                                                          [11] Negligence 272        273
[8] Judgment 228       185.3(8)
                                                          272 Negligence
228 Judgment                                                 272V Heightened Degrees of Negligence




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 3 of Page
                                                                       56 3
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




          272k273 k. Gross Negligence. Most Cited         pendent covenant, and, thus, contractor's alleged
Cases                                                     breach of the contract would not excuse the operat-
     “Gross negligence” presumes a negligent act or       or from indemnifying the contractor.
omission and includes two further elements: (1)
viewed objectively from the standpoint of the actor,      [15] Indemnity 208       31(1)
the act or omission, i.e., harm-causing negligence,
                                                          208 Indemnity
must involve an extreme degree of risk, considering
                                                             208II Contractual Indemnity
the probability and magnitude of the potential harm
                                                                  208k31 Construction and Operation of Con-
to others, and (2) the actor must have actual, sub-
                                                          tracts
jective awareness of the risk involved, but never-
                                                                         208k31(1) k. In General. Most Cited
theless proceed in conscious indifference to the
                                                          Cases
rights, safety, or welfare of others.
                                                               An indemnity agreement is an original obliga-
[12] Damages 115        15                                tion between the contracting parties and independ-
                                                          ent of other agreements.
115 Damages
    115III Grounds and Subjects of Compensatory           [16] Contracts 95      303(1)
Damages
                                                          95 Contracts
        115III(A) Direct or Remote, Contingent, or
                                                             95V Performance or Breach
Prospective Consequences or Losses
                                                                 95k303 Excuses for Nonperformance or De-
         115III(A)1 In General
                                                          fects
             115k15 k. Nature and Theory of Com-
                                                                        95k303(1) k. In General. Most Cited
pensation. Most Cited Cases
                                                          Cases
    The absence of a viable negligence claim re-
                                                               A prerequisite to the remedy of excuse of per-
moves any justification for imposing actual dam-
                                                          formance is that covenants in a contract must be
ages.
                                                          mutually dependent promises.
[13] Contracts 95      189.5
                                                          [17] Appeal and Error 30         1079
95 Contracts
                                                          30 Appeal and Error
   95II Construction and Operation
                                                              30XVI Review
      95II(C) Subject-Matter
                                                                 30XVI(K) Error Waived in Appellate Court
          95k189.5 k. Exculpatory Contracts. Most
                                                                     30k1079 k. Insufficient Discussion of Ob-
Cited Cases
                                                          jections. Most Cited Cases
   (Formerly 95k189)
                                                               Appellant waived its complaints by merely ut-
    In the context of a release for acts of negli-
                                                          tering brief conclusory statements, unsupported by
gence, negligence and gross negligence are not sep-
                                                          legal citations, and thus presenting attenuated, un-
arable.
                                                          supported argument. Rules App.Proc., Rule 38.1(g).
[14] Indemnity 208       111
                                                          [18] Appeal and Error 30         179(1)
208 Indemnity
                                                          30 Appeal and Error
   208VI Rights and Remedies of Indemnitor
                                                               30V Presentation and Reservation in Lower
      208k111 k. Discharge. Most Cited Cases
                                                          Court of Grounds of Review
    Oil and gas property operator's agreement to
                                                                30V(A) Issues and Questions in Lower Court
indemnify oil well drilling contractor was an inde-
                                                                      30k179 Sufficiency of Presentation of




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 4 of Page
                                                                       56 4
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




Questions                                                  tion and release provisions of the drilling contract
               30k179(1) k. In General. Most Cited         stated a “mutual indemnity obligation” enforceable
Cases                                                      under the safe harbor requirements of the Oilfield
     Insurer waived reliance on argument that was          Anti–Indemnity Act (OAIA). V.T.C.A., Civil Prac-
asserted for the first time in its motion for reconsid-    tice & Remedies Code §§ 127.001(3), 127.005.
eration, four months after the first summary judg-
ment was granted and one month after amended or-           [21] Indemnity 208       31(4)
der was signed granting partial summary judgment;
                                                           208 Indemnity
the argument concerned applicability of waiver of
                                                               208II Contractual Indemnity
its subrogation rights.
                                                                   208k31 Construction and Operation of Con-
[19] Indemnity 208         30(5)                           tracts
                                                                        208k31(4) k. Subject-Matter in General.
208 Indemnity                                              Most Cited Cases
    208II Contractual Indemnity                                 A “release” surrenders legal rights or obliga-
       208k26 Requisites and Validity of Contracts         tions between the parties to an agreement; an
            208k30 Indemnitee's Own Negligence or          “indemnity agreement,” however, is a promise to
Fault                                                      safeguard or hold the indemnitee harmless against
              208k30(5) k. Contractors, Subcontract-       either existing and/or future loss liability.
ors, and Owners. Most Cited Cases
     Indemnification and release provisions of oil         [22] Indemnity 208       30(1)
well drilling contract stated a “mutual indemnity
                                                           208 Indemnity
obligation” enforceable under the safe harbor re-
                                                               208II Contractual Indemnity
quirements of the Oilfield Anti–Indemnity Act
                                                                  208k26 Requisites and Validity of Contracts
(OAIA), even though the contractor released the
                                                                      208k30 Indemnitee's Own Negligence or
operator from liability for damage to drilling rig;
                                                           Fault
although mutuality extended to every provision of
                                                                          208k30(1) k. In General. Most Cited
the indemnity agreement except the release, an
                                                           Cases
agreement to indemnify the operator for claims
                                                                The fair notice requirements of express negli-
against it for loss of the rig would be superfluous,
                                                           gence and conspicuousness apply to indemnity
and the failure to include a meaningless indemnific-
                                                           agreements because these particular agreements are
ation provision did not destroy mutuality. V.T.C.A.,
                                                           used to exculpate a party from the consequences of
Civil Practice & Remedies Code §§ 127.001(3),
                                                           its own negligence.
127.005.
                                                           [23] Indemnity 208       30(1)
[20] Insurance 217        3522
                                                           208 Indemnity
217 Insurance
                                                              208II Contractual Indemnity
   217XXX Recovery of Payments by Insurer
                                                                 208k26 Requisites and Validity of Contracts
       217k3511 Subrogation Against Third Parties;
                                                                     208k30 Indemnitee's Own Negligence or
Right to Proceeds of Action or Settlement
                                                           Fault
           217k3522 k. Waiver or Loss of Subroga-
                                                                         208k30(1) k. In General. Most Cited
tion Rights. Most Cited Cases
                                                           Cases
     Oil well drilling contractor's waiver of its prop-
                                                               The “express negligence doctrine” mandates
erty insurer's subrogation rights against operator for
                                                           that a party seeking indemnity from the con-
loss of rig was enforceable, since the indemnifica-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 5 of Page
                                                                       56 5
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




sequences of its own negligence must express that         ing for indemnification and release were conspicu-
intent in specific terms in the indemnity agreement.      ous and satisfied the fair notice test; the agreement
                                                          labeled them in capital letters “RESPONSIBILITY
[24] Indemnity 208        30(1)                           FOR LOSS OR DAMAGE, INDEMNITY, RE-
                                                          LEASE OF LIABILITY AND ALLOCATION OF
208 Indemnity
                                                          RISK” and “INSURANCE.”
    208II Contractual Indemnity
       208k26 Requisites and Validity of Contracts        [27] Insurance 217        3522
            208k30 Indemnitee's Own Negligence or
Fault                                                     217 Insurance
               208k30(1) k. In General. Most Cited            217XXX Recovery of Payments by Insurer
Cases                                                            217k3511 Subrogation Against Third Parties;
     “Conspicuousness,” as part of the fair notice        Right to Proceeds of Action or Settlement
test of an indemnity agreement, mandates that there                   217k3522 k. Waiver or Loss of Subroga-
must be something on the face of an indemnity             tion Rights. Most Cited Cases
agreement to attract the attention of a reasonable             Oil well drilling contractor's waiver of property
person.                                                   insurer's subrogation rights against operator did not
                                                          apply to insurer's claim against operator for gross
[25] Indemnity 208        30(5)                           negligence in connection with blowout; the indem-
                                                          nity agreement limited the parties' waiver of sub-
208 Indemnity
                                                          rogation to the liabilities each assumed under the
    208II Contractual Indemnity
                                                          drilling contract, the contractor did not assume liab-
       208k26 Requisites and Validity of Contracts
                                                          ility for losses to its rig caused by the operator's
            208k30 Indemnitee's Own Negligence or
                                                          gross negligence, and if the contractor were to
Fault
                                                          bring suit against the operator to recover for the
              208k30(5) k. Contractors, Subcontract-
                                                          loss of the rig, it would be seeking a double recov-
ors, and Owners. Most Cited Cases
                                                          ery.
     Indemnity agreement in standard form contract
by International Association of Drilling Contractors      [28] Subrogation 366        1
satisfied the express negligence doctrine requiring
party to express intent in specific terms if it seeks     366 Subrogation
indemnity from consequences of its own negli-                  366k1 k. Nature and Theory of Right. Most
gence; the contract stated that the indemnity obliga-     Cited Cases
tions were without regard to the cause including a            “Subrogation” is the right of one who has paid
party's negligence.                                       an obligation that another should have paid to be
                                                          indemnified by the other.
[26] Indemnity 208        30(5)
                                                          [29] Insurance 217        3523(1)
208 Indemnity
   208II Contractual Indemnity                            217 Insurance
       208k26 Requisites and Validity of Contracts           217XXX Recovery of Payments by Insurer
           208k30 Indemnitee's Own Negligence or                 217k3511 Subrogation Against Third Parties;
Fault                                                     Right to Proceeds of Action or Settlement
             208k30(5) k. Contractors, Subcontract-                     217k3523 Subrogation as Derivative
ors, and Owners. Most Cited Cases                         Right
     Provisions of oil well drilling contract provid-                   217k3523(1) k. In General; Rights or




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 6 of Page
                                                                       56 6
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




“Shoes” of Insured. Most Cited Cases                          228V On Motion or Summary Proceeding
    An insurer's right to subrogation derives from               228k181 Grounds for Summary Judgment
the rights of the insured and is limited to those                    228k181(15) Particular Cases
rights.                                                                  228k181(23) k. Insurance Cases. Most
                                                           Cited Cases
[30] Insurance 217        3523(4)                              Genuine issue of material fact as to whether oil
                                                           well blowout was caused by operator's gross negli-
217 Insurance
                                                           gence precluded summary judgment on subrogation
   217XXX Recovery of Payments by Insurer
                                                           claim by drilling contractor's property insurer
       217k3511 Subrogation Against Third Parties;
                                                           against the operator.
Right to Proceeds of Action or Settlement
               217k3523 Subrogation as Derivative          *121 Roy L. Barnes,William Pannill, Houston, TX,
Right                                                      for Appellants.
              217k3523(2) Defenses Against Insured
Affecting Insurer                                          Kenneth J. Lambert, Fletcher & Springer, L.L.P.,
                  217k3523(4) k. Release or Settle-        Dallas, TX, R. Glen Rigby, Vinson & Elkins,
ment with Insured. Most Cited Cases                        L.L.P., Houston, TX, for Appellees.
    A release between the insured and an offending
party prior to a loss destroys the insurance com-
                                                           Panel consists of Justices JENNINGS and WILSON
pany's rights by way of subrogation.                         FN*
                                                           .
[31] Insurance 217        3522
                                                                   FN* Justice Davie L. Wilson retired on
217 Insurance
                                                                   March 30, 2002. Justice Wilson continues
   217XXX Recovery of Payments by Insurer
                                                                   to sit by assignment on this case that was
       217k3511 Subrogation Against Third Parties;
                                                                   submitted on September 10, 2001.
Right to Proceeds of Action or Settlement
            217k3522 k. Waiver or Loss of Subroga-
tion Rights. Most Cited Cases                                                   OPINION
     Parties to indemnity agreement must look to           DAVIE L. WILSON, Justice (Assigned).
their own contract to determine what subrogation                Tesoro Petroleum Corporation and Tesoro E &
rights they may insist that the other party require its    P Company, L.P. (collectively “Tesoro”) appeal a
insurers to waive.                                         summary judgment requiring it to indemnify
                                                           Nabors Drilling USA, Inc. (Nabors) for settlement
[32] Subrogation 366         35                            monies Nabors paid a third party as a result of an
                                                           oil well blowout. In five points of error, Tesoro
366 Subrogation
                                                           contends the trial court erred in granting summary
    366k35 k. Waiver or Loss of Right to Subroga-
                                                           judgment on Nabors's indemnity claim because (1)
tion. Most Cited Cases
                                                           Nabors's damages arose from a claim by LMP Pet-
     Where a party to an indemnity contract relating
                                                           roleum Corporation (LMP) for gross negligence
to an oil and gas well is not contractually obligated
                                                           and willful misconduct, which were *122 specific-
to enforce a waiver of subrogation, the other party
                                                           ally excluded from the indemnity agreement; (2)
cannot insist that it assert a waiver of subrogation.
                                                           the summary judgment evidence raised a disputed
[33] Judgment 228         181(23)                          fact issue as to whether Nabors had been grossly
                                                           negligent in causing the blowout; (3) negligence
228 Judgment                                               and gross negligence are separate causes of action,




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 7 of Page
                                                                       56 7
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




either of which can lead to a judgment for com-            causes of action” arising from the contract in favor
pensatory damages; (4) a disputed issue of fact ex-        of the party's own employees, subcontractors, or in-
ists as to whether Nabors breached the contract, ex-       vitees “on account of bodily injury, death or dam-
cusing Tesoro of its duty to indemnify Nabors; and         age to property.” Tesoro and Nabors assumed the
(5) “Tesoro Petroleum Corporation” was not a party         foregoing indemnities and liabilities without regard
to the contract.                                           to the cause, except and excluding gross negligence
                                                                                                        FN2
                                                           or willful misconduct by either party.            Each
    In a separate appeal, Nabors's insurance carrier,      party agreed to maintain insurance for the liabilities
Zurich American Insurance Company (Zurich), ap-            it assumed under the drilling contract, in the same
peals a summary judgment holding that it breached          kind and amount as the other party, and to cause its
the drilling contract by filing suit in subrogation to     insurer to waive subrogation to its rights against the
Nabors's rights against Tesoro to recover insurance        other party for the liabilities contractually assumed.
proceeds Zurich paid Nabors for the loss of its rig.
                                                                    FN1. The drilling contract was a standard
    We affirm the summary judgment granted on                       form contract written by the International
behalf of Nabors and reverse and remand the sum-                    Association of Drilling Contractors
mary judgment granted on behalf of Tesoro.                          (IADC) and is used frequently in the busi-
                                                                    ness.
      I. Factual and Procedural Background
     Tesoro entered into a Joint Operating Agree-                   FN2. Tesoro typed in the exclusionary
ment with LMP to explore and develop oil and gas                    clause, and initialed the change. Nabors
property located in Webb County, Texas. As the                      did not object.
“operator,” Tesoro agreed to manage and control all
operations related to the oil and gas development of           Before drilling, Nabors obtained a certificate of
the property. Pursuant to the Agreement, Tesoro            insurance listing Zurich as its insurer for damage to
was authorized to enter into an independent con-           Nabors's drilling rig. Zurich's certificate waived
tract with a drilling contractor to drill the oil and      subrogation to Nabors's rights against Tesoro “only
gas wells.                                                 as required by signed written contract and *123
                                                           only insofar as liability is assumed by [Nabors] un-
A. The Drilling Contract                                   der signed written contract subject always to the
     Tesoro entered into a Daywork Drilling Con-           policy's terms, conditions and exclusions.”
                   FN1
tract with Nabors.       As the “drilling contractor,”
Nabors agreed to drill Longoria No. 2, an oil well             One month after Nabors began drilling the
located in Webb County, to maintain the drilling           Longoria No. 2 Well, the well began flowing, but
equipment and the well-control equipment, to pre-          several of its blowout preventers (BOPs) began to
vent and control fires and blowouts, and to protect        leak. Longoria No. 2 eventually blew out and
the well hole. Nabors also agreed to assume liabil-        caught fire, destroying the drilling rig and rendering
ity for losses to or destruction of its surface equip-     Longoria No. 2 unworkable. Tesoro spent $425,400
ment and to release Tesoro from liability for that         to get the well under control and an additional
damage. Tesoro assumed sole responsibility for             $404,900 to reimburse suppliers whose equipment
                                                                     FN3
damage to or loss of the hole, released Nabors from        was lost.
liability for such damage or loss, and indemnified
Nabors against “any and all claims, liability and ex-               FN3. Tesoro then drilled the Longoria No.
pense relating to such damage or loss.” Each party                  2A well, but the well was a dry hole. Te-
also assumed liability and agreed to indemnify the                  soro estimated it spent approximately $3
other “from and against all claims, demands, and                    million cleaning up Longoria No. 2 and




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 8 of Page
                                                                       56 8
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




         drilling Longoria No. 2A.                         damage to the well and that Tesoro's negligence or
                                                           gross negligence had caused the blowout.
B. Webb County Lawsuit
     After the blowout, LMP, as a working interest              Tesoro moved for summary judgment against
owner in Longoria No. 2, brought an action in              Zurich and Nabors. The trial court granted the mo-
Webb County against Nabors, alleging, among oth-           tion “in its entirety.” However, in response to
er things, gross negligence and willful misconduct.        Nabors's motion for partial reconsideration, the
Nabors sought indemnity from Tesoro. Tesoro in-            court changed its order, granting Tesoro's motion in
tervened and sought a declaratory judgment as to           part and denying it in part. In its final summary
whether it owed a duty to indemnify Nabors. LMP            judgment, the court denied Tesoro's motion for
then sued Tesoro.                                          summary judgment against Nabors for breach of
                                                           contract relating to the BOPs. However, it granted
     In early 1999, the Webb County suit settled,          Tesoro's motion against Zurich, holding that Zurich
with Nabors paying LMP $113,333 and Tesoro                 breached the waiver of subrogation clause in the in-
paying LMP $95,000. There was no admission of              demnity provision of the drilling contract by filing
liability by any party. Nabors's demand for indem-         suit against Tesoro, and it awarded Tesoro damages
nity from Tesoro, Tesoro's request for a declaratory       *124 against Zurich for the breach. Tesoro and
judgment regarding its duty to indemnify Nabors,           Zurich stipulated that Tesoro's damages were
and Tesoro's claims against Nabors were not re-            $120,000 in addition to appellate attorneys' fees.
solved and remained pending in Webb County.
                                                                Nabors likewise filed a motion for summary
C. Harris County Lawsuit                                   judgment on its indemnity claim against Tesoro.
     In March 1998, while the Webb County suit             The trial court granted Nabors's motion and denied
was pending, Zurich, as Nabors's carrier, sued Te-         all of Tesoro's claims against Nabors. After a bench
soro in the 234th District Court of Harris County in       trial on damages, the trial court awarded Nabors
Nabors's name and in subrogation to Nabors's rights        $513,333, comprising $113,333 for the settlement
against Tesoro. Zurich sought recovery of the insur-       payment to LMP in the Webb County suit and
ance proceeds it paid to Nabors for the damage to          $400,000 in legal fees and other defense costs in-
Nabors's equipment from the blowout. The same              curred by Nabors in that Webb County suit. The tri-
day Zurich filed its suit, Tesoro's carrier sued vari-     al court also awarded Nabors $200,000 in legal fees
ous parties, but not Nabors, in the 190th District         in the Harris County suit for prosecuting its breach
Court of Harris County, in connection with the blo-        of contract and indemnity claim. The trial court ad-
wout. The two Harris County suits were consolid-           ditionally awarded Nabors $75,000 for appellate
ated in the 234th District Court and form the basis        fees at the various stages of appeals. Tesoro and
of this appeal.                                            Zurich/Nabors non-suited their claims against the
                                                           other defendants.
     After consolidation, Tesoro filed a counter-
claim against Zurich, asserting, among other things,          Tesoro and Zurich have both appealed the sum-
that Zurich breached the drilling contract by filing       mary judgments entered against them.
suit in subrogation against Tesoro. Tesoro also filed
a claim against Nabors, asserting that Nabors                             II. Standard of Review
breached the drilling contract by providing faulty              A party moving for a traditional summary judg-
BOPs. Nabors then asserted its indemnity claim             ment has the burden of proving that there is no
against Tesoro for recovery of the costs of its de-        genuine issue of material fact and that the movant
fense and settlement in the Webb County lawsuit,           is entitled to judgment as a matter of law. TEX.R.
claiming that Tesoro had assumed liability for the         CIV. P. 166a(c); Nixon v. Mr. Property Mgmt. Co.,




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 9 of Page
                                                                       56 9
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




Inc., 690 S.W.2d 546, 548 (Tex.1985); Hernandez            nification agreement, and denied Tesoro's claims
v. Koch Mach. Co., 16 S.W.3d 48, 51–52                     for damages against Nabors for providing faulty
(Tex.App.-Houston [1st Dist.] 2000, pet. denied).          blowout preventers.
When deciding whether there is a disputed material
fact issue precluding summary judgment, evidence           *125 A. Indemnity Claim and Gross Negligence
favorable to the nonmovant will be taken as true.               Tesoro contends that the trial court erred in re-
Nixon, 690 S.W.2d at 548–49. Every reasonable in-          quiring it to indemnify Nabors for the payment
ference must be indulged in favor of the nonmovant         Nabors made to LMP to settle the Webb County
and any doubts resolved in its favor. Id.                  suit because LMP's claims against Nabors were for
                                                           Nabors's gross negligence and willful misconduct,
     A no-evidence summary judgment is improper            claims for which Tesoro did not agree to indemnify
if the nonmovant presents more than a scintilla of         Nabors.
probative evidence to raise a material fact question
in response to the motion. A.H. Belo Corp. v.                   Under the drilling contract, Nabors agreed to
Corcoran, 52 S.W.3d 375, 378 (Tex.App.-Houston             furnish “equipment [and] labor and perform ser-
[1st Dist.] 2001, pet. denied). More than a scintilla      vices ... under the direction, supervision and con-
of evidence exists when the evidence presented             trol” of Tesoro. Tesoro assumed liability for any
arises to a level where reasonable and fair-minded         “damage to or loss of the hole,” released Nabors
people could differ in their conclusions. Burroughs        from “any liability for damage to or loss of the
Wellcome Co. v. Crye, 907 S.W.2d 497, 499                  hole,” and agreed to defend and indemnify Nabors
(Tex.1995).                                                from all claims “relating to such damage to or loss
                                                           of the hole.” The contract further stated:
     [1][2][3] A plaintiff, when moving for sum-
mary judgment, is not under any obligation to neg-           [I]t is the intent of parties hereto that all indem-
ate affirmative defenses. An affirmative defense             nity obligations ... assumed by such parties ... be
will prevent the granting of summary judgment                without limit and without regard to the cause or
only if each element of the affirmative defense is           causes thereof including ... the negligence of any
supported by summary judgment evidence. Kirby                party or parties, whether such negligence be sole,
Explor. Co. v. Mitchell Energy Corp., 701 S.W.2d             joint, or concurrent, active or passive.
922, 926 (Tex.App.-Houston [1st Dist.] 1985, writ
                                                                Tesoro added the next line which read, “but ex-
ref'd n.r.e.). A party raising an affirmative defense
                                                           cluding the gross negligence or willful misconduct
in opposition to a motion for summary judgment
                                                           of a party hereto.” Nabors did not object and began
must either (1) present a disputed fact issue on the
                                                           operating under the contract.
opposing party's failure to satisfy his own burden of
proof or (2) establish at least the existence of a fact        Tesoro contends that it is not required to in-
issue on each element of his affirmative defense by        demnify Nabors for Nabors's defense against the
summary judgment proof. “Moore” Burger, Inc. v.            claims made by LMP in the Webb County suit and
Phillips Petrol. Co., 492 S.W.2d 934, 936–37               Nabors's settlement of those claims. To support its
(Tex.1972).                                                position, Tesoro refers us to Fisk Electric Co. v.
                                                           Constructors & Assocs., Inc., 888 S.W.2d 813,
               III. Tesoro's Appeal
                                                           815–16 (Tex.1994). In Fisk, the supreme court
    Tesoro appeals the summary judgment entered
                                                           held:
against it and in favor of Nabors. That judgment
held that Nabors was entitled to indemnity under             Without an express reference in the indemnifica-
the drilling contract as a matter of law, awarded            tion provision to claims based upon negligence,
Nabors damages for Tesoro's breach of the indem-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 10 of 56
                                                                     Page 10
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




  there is no indemnity for defense costs incurred              [7] We must now determine if Nabors's claim
  in connection with a negligence claim irrespect-         is precluded by the gross negligence and willful
  ive of whether the claim is ultimately proved.           misconduct exclusion. A claim that a contractual
                                                           exclusion precludes indemnity is an affirmative de-
     Id. In the context of this case, Fisk does not ap-    fense. Delta Eng'g Corp. v. Warren Petroleum,
ply. The question in the Fisk case was whether an          Inc., 668 S.W.2d 770, 773 (Tex.App.-Houston [1st
indemnitor had a duty to provide a defense against         Dist.] 1984, writ ref'd n.r.e.). In Delta, the court
negligence to the indemnitee when it was unclear           stated, “If the indemnitor should later deny cover-
whether the indemnity agreement covered negli-             age under the contract, whether due to a contractual
gence. The question posed in Tesoro's appeal is not        exclusion, or for some other reason, it is such
whether the indemnity provisions of the drilling           party's burden to affirmatively state the justification
contract expressly cover negligence and exclude            for his refusal to indemnify.” Id. Tesoro plead, by
gross negligence. Both parties agree that they do.         way of affirmative defense, that indemnification
The question is whether Nabors committed gross             was improper based on Nabors's gross negligence
negligence.                                                or willful misconduct, i.e., a contract exclusion.

    [4] A contractual right to indemnity should be              [8] In support of its affirmative defense, Tesoro
determined in the same fashion as other contractual        bore the burden to raise a fact issue on each and
rights—as a matter of law. Fisk, 888 S.W.2d at 815.        every element of Nabors's alleged gross negligence
Construing the indemnity agreement under the nor-          or willful misconduct so as to bring Nabors's in-
mal rules of contract construction, it is clear the in-    demnity claim within the exclusions in the indem-
tent of the parties was for Tesoro to indemnify            nity agreement. See Kirby Explor. Co., 701 S.W.2d
Nabors for any acts except those stemming from             at 926.
gross negligence and willful misconduct. See Bal-
andran v. Safeco Ins. Co., 972 S.W.2d 738, 741                  [9] The extent to which Tesoro directly ad-
(Tex.1998); Associated Indem. Corp. v. CAT Con-            dressed the gross negligence evidence in its re-
tracting, Inc., 964 S.W.2d 276, 284 (Tex.1998).            sponse to Nabors's motion for partial summary
                                                           judgment can be quoted in two lines: “Likewise,
     [5][6] Tesoro contends, however, that it need         there is summary judgment evidence which spe-
show only that LMP's pleadings in the Webb                 cifically shows that Nabors was grossly negligent,
County suit asserted that Nabors's gross negligence        which would preclude it from any indemnity. See
and willful misconduct caused LMP's losses to take         Affidavit of Mike Smith, attached to Tesoro's Mo-
away Tesoro's obligation to indemnify Nabors               tion for Summary Judgment.”
against those claims. Facts, however, not allega-
tions, determine an indemnitor's duty to indemnify.             A review of the six-page affidavit of Mike
The duty to defend may be triggered by the plead-          Smith, Tesoro's retained expert, reveals that, des-
ings, but the duty to indemnify is based on the            pite assertions regarding improper conduct by
jury's findings. See Farmers Tex. County Mut. Ins.         Nabors on the job, Smith did not give an expert
Co. v. Griffin, 955 S.W.2d 81, 82 (Tex.1997). Here,        opinion that improperly maintained BOPs caused
Nabors settled the Webb *126 County lawsuit with           the Longoria No. 2 blowout and the resulting dam-
                                              FN4
LMP, and there was no admission of liability.              ages. Therefore, Tesoro failed to demonstrate a
                                                           genuine issue of material fact relating to the specif-
         FN4. The settlement expressly excluded            ic element of causation necessary to maintain its af-
         any recovery for punitive damages. Tesoro         firmative defense of gross negligence.
         participated in the settlement and stipu-
         lated to its reasonableness.                          We overrule Tesoro's issues one and two and




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 11 of 56
                                                                     Page 11
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




affirm the award of damages on these issues.               Nabors because a disputed issue of fact exists as to
                                                           whether Nabors breached the contract, excusing Te-
B. Compensatory Damages                                    soro of its duty to indemnify Nabors.
     In issue three, Tesoro asserts that Texas law al-
lows a jury to award compensatory damages for                  Tesoro contends Nabors breached the para-
gross negligence and willful misconduct; thus, the         graph in the drilling contract that provided:
fact that the LMP settlement did not include punit-        “[Nabors] shall maintain well control equipment in
ive damages is of no consequence.                          good condition at all times and shall use all reason-
                                                           able means to prevent and control fires and blo-
    Tesoro asks this Court to hold that “gross neg-        wouts and to protect the hole.” It alleges this breach
ligence is a separable cause of action from ordinary       occurred when the BOPs failed because
negligence that independently supports the recovery
of compensatory damages.”                                    Nabors chose to buy and install inferior and im-
                                                             proper products into BOPs that did not have
     [10][11][12][13] Negligence and gross negli-            proven capacities or technical support that would
gence are not separable causes of action, but are in-        maintain the well control equipment in good con-
extricably intertwined. Negligence is a liability            dition at all times.
finding, involving duty, breach, and causation.
Gross negligence presumes a negligent act or omis-              Tesoro claims these actions breached the con-
sion and includes two further elements:                    tract, and they also claim Nabors was grossly negli-
                                                           gent for buying and installing the “inferior and im-
  (1) viewed objectively from the standpoint of the        proper” products.
  actor, the act or omission [i.e., harm-causing neg-
  ligence] must involve an extreme degree of risk,              As Nabors stated, Nabors's conduct in supply-
  considering the probability and magnitude of the         ing well control equipment was either: (1) prudent;
  potential harm to others, and (2) the actor must         (2) negligent; (3) grossly negligent; or (4) inten-
  have actual, subjective awareness of the risk in-        tional misconduct. Tesoro failed to raise a fact issue
  volved, but nevertheless proceed in conscious in-        that Nabors's conduct was grossly negligent, and no
  difference to the rights, safety, or welfare of oth-     party has alleged intentional misconduct. Thus,
  ers.                                                     Nabors's conduct was either prudent or it was negli-
                                                           gent. If the conduct was prudent, the conduct was
     *127 Transp. Ins. Co. v. Moriel, 879 S.W.2d           not actionable. If the conduct was negligent, Tesoro
10, 23 (Tex.1994). We agree with the San Antonio           is required to indemnify Nabors under its contract
Court of Appeals, which has held “the absence of a         with Nabors. Either way, Tesoro's argument fails.
viable negligence claim removes any justification
for imposing actual damages.” Newman v. Tropical               Tesoro further contends that indemnity is a de-
Visions, Inc., 891 S.W.2d 713, 722 (Tex.App.-San           pendant covenant; therefore, a breach of a part of
Antonio 1994, writ denied). That court further held        the indemnity agreement excuses Tesoro from in-
that, in the context of a release for acts of negli-       demnifying Nabors at all. We disagree.
gence, negligence and gross negligence are not sep-
arable. Id. We agree.                                           [15][16] An indemnity agreement “is an origin-
                                                           al obligation between the contracting parties and in-
    We overrule Tesoro's issue three.                      dependent of other agreements.” Joseph Thomas,
                                                           Inc. v. Graham, 842 S.W.2d 343, 346
C. Breach of Contract Fact Issue                           (Tex.App.-Tyler 1992, no writ). A prerequisite to
    [14] In issue four, Tesoro argues that the trial       the remedy of excuse of performance is that coven-
court erred in granting summary judgment to




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 12 of 56
                                                                     Page 12
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




ants in a contract must be mutually dependent                   We overrule Tesoro's conditional issues.
promises. Hanks v. GAB Bus. Serv., 644 S.W.2d                                                  FN5
707, 708 (Tex.1982). Because an indemnity agree-                         IV. Zurich's Appeal
ment is an independent covenant, Tesoro is not ex-
                                                                     FN5. Zurich filed suit on behalf of Nabors,
cused from performing under the contract based on
                                                                     and all pleadings were in Nabors's name.
unsupported allegations that Nabors breached the
                                                                     For simplification, however, we will refer
contract.
                                                                     to all claims brought by Zurich, as the sub-
    We overrule Tesoro's issue four.                                 rogee, as “Zurich's” claims.

D. Party to Contract                                             Zurich appeals the trial court's summary judg-
     In issue five, Tesoro argues the trial court erred     ment against it, and in favor of Tesoro, holding that
in granting summary judgment against “Tesoro Pet-           Zurich breached the drilling contract by filing suit
roleum Corporation” because it is not a party to the        in subrogation to its insured's, Nabors's, claims
contract.                                                   against Tesoro and awarding Tesoro damages and
                                                            attorneys' fees against Zurich. Zurich raises six is-
    The final judgment signed by the trial court in-        sues for our review.
cludes “Tesoro Petroleum Corporation.” Tesoro ar-
gues this was improper because Tesoro E & P, the                 [18] In issue one, Zurich argues that the trial
limited partnership, is the only Tesoro entity that         court improperly granted summary judgment on
signed the drilling contract. Tesoro Petroleum con-         claims that had been dismissed. In issue two,
cedes it did not raise this point in the trial court. As    Zurich contends that the indemnity agreement in
such, the issue is not properly before our Court. To        the drilling contract is void and that the waiver of
preserve *128 an issue for appellate review, an is-         subrogation provision, which is limited to liabilities
sue must be raised with the trial court. TEX.R.APP.         assumed under the indemnity agreement, is unen-
P. 33.1.                                                    forceable. In issue three, Zurich argues that the
                                                            waiver of subrogation provision does not apply to
    We overrule Tesoro's issue five.                        claims for gross negligence or willful misconduct.
                                                            In issue four, Zurich argues that the waiver of sub-
E. Tesoro's Conditional Points                              rogation provision does not apply to waive subroga-
     [17] Tesoro raises two conditional issues de-          tion under the Zurich policy because Zurich's
pendent on our decision on Zurich's appeal, but             policy is not a liability policy and does not provide
provides inadequate briefing on the two conditional                                   FN6
                                                            any liability coverage.         In issue five, Zurich
points. The brief “must contain a succinct, clear,          contends the indemnity agreement, which provides
and accurate statement of the argument made in the          for the parties' waiver of their insurers' subrogation
body of the brief.” TEX.R.APP. P. 38.1(g). Rule 38          rights, is void under the Texas Oilfield Anti Indem-
requires Tesoro to provide us with such discussion          nity Act (TOAIA). It bases its contention on the
of the facts and the authorities relied upon as may         premise that “the insurance procurement provision
be requisite to maintain the point at issue. See            (including the waiver of subrogation provision
Franklin v. Enserch, Inc., 961 S.W.2d 704, 711              therein), which directly supports the indemnity and
(Tex.App.-Amarillo 1998, no pet.). This is not done         release agreements of the contract, is void under the
by merely uttering brief conclusory statements, un-         TOAIA.” In issue six, Zurich argues that Tesoro's
supported by legal citations. Id. By presenting such        no-evidence motion for summary judgment was not
attenuated, unsupported argument, Tesoro waives             granted or was improperly granted.
its complaints. See id.
                                                                     FN6. Zurich waived reliance on this argu-




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 13 of 56
                                                                     Page 13
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




         ment because it was asserted for the first        amount of insurance coverage is limited to
         time in its motion for reconsidera-               $500,000. See TEX. CIV. PRAC. & REM.CODE §
                                                                    FN7
         tion—four months after the first summary          127.005.      The TOAIA defines a “mutual indem-
         judgment was granted and one month after          nity obligation” as
         the amended order was signed granting
         partial summary judgment. See Kel-                        FN7. Section 127.005 of the TOAIA
         ley–Coppedge, Inc. v. Highlands Ins., 980                 provides, in relevant part:
         S.W.2d 462, 467 (Tex.1998).
                                                                      (a) This chapter does not apply to an
A. Enforceability of the Waiver of Subrogation                        agreement that provides for indemnity if
    We first address issues two and five.                             the parties agree in writing that the in-
                                                                      demnity obligation will be supported by
1. Applicability of the TOAIA                                         liability insurance coverage to be fur-
    [19][20] In issues two and five, Zurich con-                      nished by the indemnitor subject to the
tends that the indemnity agreement in the drilling                    limitations specified in Subsection (b) or
contract between Tesoro and Nabors is void and,                       (c).
therefore, the waiver *129 of subrogation rights,
which is specifically limited to those liabilities as-                (b) With respect to a mutual indemnity
sumed by the contracting parties, is unenforceable.                   obligation, the indemnity obligation is
                                                                      limited to the extent of the coverage and
     In issue five, Zurich contends that the assump-                  dollar limits of insurance or qualified
tion of liability provision to which Nabors agreed is                 self-insurance each party as indemnitor
void under the Texas Oilfield Anti–Indemnity Act                      has agreed to provide in equal amounts
(TOAIA). See TEX. CIV. PRAC. & REM.CODE                               to the other party as indemnitee.
ANN. §§ 127.001 – 127.007 (Vernon 1997). The
TOAIA provides that an indemnification provision             an indemnity obligation in an agreement pertain-
in a contract pertaining to an oil or gas well that          ing to a well for oil ... in which the parties agree
purports to indemnify a person against loss or liab-         to indemnify each other ... against loss, liability,
ility for damages that result from the negligence of         or damages arising in connection with bodily in-
the indemnitee and arise from personal injury,               jury, death, and damage to property of the re-
death, or property injury is against public policy           spective employees, contractors or their employ-
and void unless the conditions of section 127.005 of         ees, and invitees of each party arising out of or
the Act are met. See TEX. CIV. PRAC. &                       resulting from the performance of the agreement.
REM.CODE § 127.003.                                          TEX. CIV. PRAC. & REM.CODE § 127.001(3).
                                                             Zurich argues that the indemnity agreement
     Section 127.005 of the TOAIA, the safe harbor           between Nabors and Tesoro does not qualify as a
provision, states the Act does not apply to agree-           mutual indemnity obligation and that the amount
ments that state in writing that the indemnity oblig-        of insurance is not limited to $500,000, so the
ation will be supported by liability insurance cover-        agreement satisfies neither condition of an en-
age to be furnished by the indemnitors, provided             forceable indemnity agreement pertaining to an
that, in the case of a mutual indemnity obligation,          oil or gas well.
“the indemnity obligation is limited to the extent of
the coverage and dollar limits of insurance ... each           As noted above, the indemnity agreement
party as indemnitor has agreed to obtain for the be-       signed by Nabors and Tesoro is part of a standard
nefit of the other party as indemnitee” or, in the         form drilling contract drafted by the IADC that is
case of a unilateral indemnity obligation, the             frequently used in the well-drilling business. Para-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 14 of 56
                                                                     Page 14
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




graph 13 of the drilling contract, the insurance and      roleum, Inc., 853 S.W.2d 505, 508 (Tex.1993).
waiver of subrogation provision, states that both
Nabors and Tesoro will maintain, at their own ex-                  FN8. A “release” surrenders legal rights or
pense, insurance coverage “of the same kind and in                 obligations between the parties to an
the same amount” as is required of the other, insur-               agreement. An “indemnity agreement,”
ing the liabilities that are assumed in paragraph 14               however, is a promise to safeguard or hold
of the drilling contract. Both parties also agree to               the indemnitee harmless against either ex-
cause their insurers to waive subrogation against                  isting and/or future loss liability. Dresser
the other for the liabilities that are assumed by the              Indus. Inc. v. Page Petroleum, Inc., 853
insured. Paragraph 13, therefore, tracks the insur-                S.W.2d 505, 508 (Tex.1993).
ance requirements of section 127.005 of the
                                                               Zurich, however, overlooks the provisions of
TOAIA.
                                                          the agreement in which Tesoro and Nabors both
     *130 Paragraph 14 of the drilling contract           agree to indemnify each other against claims by
provides for indemnities and releases between the         their own employees, contractors and invitees for
parties. In section 14.1, Nabors agrees to assume li-     personal injury, death, and property injury resulting
ability for damage to its rig and to release Tesoro       from their own negligence; both agree to exclude
from such liability. In section 14.5, Tesoro releases     claims for gross negligence and willful misconduct
Nabors from liability “for damage to or loss of the       from the indemnification and release provisions;
hole” and agrees to “protect, defend, and indemnify       and both agree to maintain insurance in the same
[Nabors] from and against any and all claims, liab-       amount insuring against the liabilities assumed un-
ility, and expense relating to such damage to or loss     der the contract and to provide for waiver of their
of the hole.” Finally, in sections 14.8 and 14.9 of       insurers' right of subrogation for the those liabilit-
the contract, Nabors and Tesoro agrees to release         ies. Mutuality thus extends to every provision of
each other from liability and to indemnify each oth-      the indemnity agreement except paragraph 14.1.
er “from and against all claims” arising in connec-
                                                               Zurich also overlooks the simple reason for the
tion with the subject matter of the drilling contract
                                                          disparity between the release from liability agreed
in favor of the indemnitor's own employees, con-
                                                          to by Nabors in section 14.1 and the indemnifica-
tractors or invitees “on account of bodily injury,
                                                          tion and release agreed to by Tesoro in the parallel
death, or damage to property.”
                                                          section, section 14.5. This reason is that, once liab-
      [21] Zurich, focusing solely on Nabors's re-        ility to employees, contractors, and invitees for loss
lease of Tesoro from liability for damages to             of life, injury, or property loss is covered by other
Nabors's rig as found in section 14.1, contends that      indemnity provisions in the contract, no one but
this provision is a release, not an indemnity, des-       Nabors, the drilling contractor, could suffer from
troying the mutuality of the indemnification agree-       loss of the rig (the subject matter of paragraph
       FN8                                                14.1), whereas others besides Tesoro or Nabors
ment.        The indemnity agreement, it argues,
therefore fails to satisfy the requirements of the        could easily suffer from the loss of the well, to wit,
TOAIA safe harbor provisions and is void, and the         a working interest owner such as LMP (the subject
waiver of subrogation, which is limited to the liab-      matter of paragraph 14.5), and could seek to recov-
ilities assumed in the indemnification provisions, is     er its losses from the drilling contractor. Any in-
unenforceable. In support of its argument, Zurich         demnity Nabors could give to Tesoro for claims
points out that the supreme court has held that the       against it for loss of the rig would be superfluous;
type of assumption of liability in paragraph 14.1 is      whereas Tesoro's indemnification against claims
a type of “release.” Dresser Indus. Inc. v. Page Pet-     made against Nabors is not superfluous. We decline
                                                          to hold that mutuality is destroyed by the failure to




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 15 of 56
                                                                     Page 15
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




include meaningless indemnification provisions in a       ligation” as defined in the TOAIA and that the
mutual indemnification obligation. The mutuality          agreement complies with the safe harbor require-
of the indemnity agreement is not destroyed *131          ments of the TOAIA for enforceable indemnity
by Nabors's giving Tesoro a release in paragraph          agreements pertaining to an oil or gas well. See
14.1 without also agreeing to a meaningless indem-        TEX. CIV. PRAC. & REM.CODE §§ 127.001(3);
nity for Tesoro against claims no one but Nabors          127.005. We further hold that Nabors's waiver of its
could have.                                               insurers' subrogation rights as to claims for which
                                                          liability is assumed by Nabors under the contract is
     Moreover, it seems clear that the supreme court      enforceable.
would hold that the inclusion of a release where
only a release makes sense is not enough to destroy       2. The TOAIA's “fair notice” requirements
the mutuality required for an enforceable indemni-             As part of issue two, Zurich further contends
fication agreement relating to an oil and gas well.       that, “to be enforceable, paragraph 14.1 must both
The supreme court has only once addressed the is-         be conspicuous and meet the express negligence
sue of whether “release” language is subject to the       test.” Zurich makes this statement to reinforce its
TOAIA, and that was in a footnote in Dresser. The         argument that Nabors's release of subrogation rights
footnote stated, “Although we do note that today's        in the drilling contract was void and unenforceable.
holding would suggest that chapter 127 would ap-
ply to releases as well as to indemnity agreements,            [22][23][24] The “fair notice” requirements of
we do not need to reach the merits of such an argu-       express negligence and conspicuousness apply to
ment.” Dresser, 853 S.W.2d at 510 n. 5. We believe        indemnity agreements because “these particular
this footnote was judicial dictum meant to guide us.      agreements are used to exculpate a party from the
See Palestine Contractors, Inc. v. Perkins, 386           consequences of its own negligence.” Dresser, 853
S.W.2d 764, 773 (Tex.1964) (holding that judicial         S.W.2d at 508. The “express negligence doctrine”
dictum should be followed unless found to be erro-        mandates that a party seeking indemnity from the
neous); see also, R.R. Comm'n v. Aluminum Co. of          consequences of its own negligence must express
Am., 380 S.W.2d 599, 601 (Tex.1964) (declaring            that intent in specific terms in the indemnity agree-
that dictum in earlier case was deliberately made to      ment. Id. “Conspicuousness,” as part of the fair no-
put others on notice of the court's intent). As such,     tice test of an indemnity agreement, mandates that
we hold the TOAIA applies to releases such as             there must be something on the face of an indem-
those found in the contract at issue. Our decision        nity agreement to attract the attention of a reason-
does not conflict with the supreme court's decision       able person. Dresser, 853 S.W.2d at 508. The su-
in Getty Oil Co. v. Ins. Co. of N. Am., 845 S.W.2d        preme court has held that the fair notice require-
794 (Tex.1992), which held that “the language of          ments of express negligence and conspicuousness
[section 127] applies exclusively to indemnity            apply to both releases and indemnities. Id. at 509.
agreements.” Getty, 845 S.W.2d at 804. The Getty
                                                          a. The express negligence doctrine
court was determining the applicability of
                                                               *132 [25] The indemnity agreement in the
“insurance shifting” schemes that are not present in
                                                          drilling contract satisfies the express negligence
our case. See id. And, in any event, the agreement,
                                                          test. Under the contract, Nabors assumes liability
taken as a whole, is an indemnification agreement.
                                                          for damage to or loss of its drilling rig and Tesoro
     Applying the usual standards of contract inter-      assumes liability for “damage to or loss of the
pretation, therefore, we hold that the indemnifica-       hole.” Each releases the other from liability for
tion and release provisions of the drilling contract,     damages or loss with respect to the contractually
taken together, constitute a “mutual indemnity ob-        assumed liabilities and agrees to defend and indem-
                                                          nify the other from all such losses. Tesoro also




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 16 of 56
                                                                     Page 16
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




agrees to release Nabors from liability for claims        letters, “INSURANCE.” We find that both provi-
relating to such damage to or loss of the hole and to     sions would attract the attention of a reasonable
indemnify it against such claims. Paragraph 14.3          person. Moreover, Zurich cannot claim to have
states the intention of the parties that                  been unaware of the provisions of the drilling con-
                                                          tract regarding indemnification, release, and insur-
  all indemnity obligations and/or liabilities as-        ance, because it relied upon the language of these
  sumed by such parties under terms of this con-          provisions in delineating its reservation of rights in
  tract, including without limitation, paragraphs         its certificate of insurance. We hold that paragraphs
  14.1 through 14.12 hereof, be without limit and         14 and 13 are both conspicuous and meet the fair
  without regard to the cause or causes thereof, in-      notice test.
  cluding ... the negligence of any party or parties,
  whether such negligence be sole, joint or concur-           Having determined that the indemnification
  rent, active or passive, but excluding the gross        and release provisions in the drilling contract meet
  negligence or willful misconduct of a party             the fair notice test and that the agreement satisfies
  hereto.                                                 the “safe harbor” provisions of section 127.005 of
                                                          the TOAIA, we hold that the indemnification agree-
    (Emphasis added.)                                     ment between Tesoro and Nabors is valid and that
                                                          the parties' agreement to provide for the waiver of
     The Texas Supreme Court has explicitly held
                                                          subrogation by their insurers for liabilities assumed
that the precise language in an oil and gas drilling
                                                          under the contract is enforceable.
contract that appears in the standard form contract
used by Nabors and Tesoro and that indemnifies                We overrule Zurich's issues two and five.
parties against bodily injury, death, and property
claims of its employees or contractors “without lim-      Zurich's Right to Subrogation to Nabors's Gross
it and without regard to the cause or causes thereof      Negligence Claims
or the negligence of any party or parties,” indemni-           [27] In issue three, Zurich argues that the
fies a party “clearly and unequivocally against its       waiver of subrogation provision in the indemnity
own negligence,” satisfying the express negligence        agreement does not apply to *133 Nabors's claims
doctrine. Maxus Exploration v. Moran Bros., 817           for gross negligence or willful misconduct against
S.W.2d 50, 56 (Tex.1991). Construing the indem-           Tesoro. Zurich contends such claims are specific-
nity agreement under the normal rules of contract         ally excluded from the assumption of liability pro-
construction and in light of authority, therefore, we     vision of the contract and the indemnification pro-
find that the express intent of the parties was for       vision, with its waiver of subrogation, even if valid,
Tesoro to indemnify Nabors for any acts, including        does not extend to liabilities Tesoro chose to ex-
acts of negligence, except those stemming from            clude from that provision. Therefore, Zurich was
gross negligence and willful misconduct. The in-          entitled to bring claims for gross negligence or will-
demnity agreement meets the express negligence            ful misconduct against Tesoro in subrogation to
requirement.                                              Nabors's rights.

b. Conspicuousness                                            [28][29][30] “Subrogation” is the right of one
    [26] Paragraph 14 of the drilling contract,           who has paid an obligation that another should have
providing for indemnification and release, is             paid to be indemnified by the other. Texas Ass'n of
labeled “RESPONSIBILITY FOR LOSS OR DAM-                  Sch. Bds., Inc. v. Ward, 18 S.W.3d 256, 258
AGE, INDEMNITY, RELEASE OF LIABILITY                      (Tex.App.-Waco 2001, pet. denied). The object of
AND ALLOCATION OF RISK.” (Capitals in ori-                such subrogation is to prevent the insured from re-
ginal.) Similarly, paragraph 13 is labeled in capital     ceiving a double recovery. Argonaut Ins. Co. v. All-




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 17 of 56
                                                                     Page 17
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




state Ins. Co., 869 S.W.2d 537, 541                              In this case, the indemnity agreement between
(Tex.App.-Corpus Christi 1993, writ denied). An             Nabors and Tesoro plainly limits the parties' waiver
insurer's right to subrogation derives from the rights      of subrogation to the liabilities each assumed under
of the insured and is limited to those rights. Inter-       the drilling contract. Nabors did not assume liabil-
state Fire Ins. Co. v. First Tape, Inc., 817 S.W.2d         ity for losses to its rig caused by Tesoro's gross
142, 145 (Tex.App.-Houston [1st Dist.] 1991, writ           negligence. Tesoro remained liable for such losses.
denied). A release between the insured and an of-           Nabors, however, recovered its losses from its in-
fending party prior to a loss destroys the insurance        surance carrier, Zurich. Therefore, if Nabors were
company's rights by way of subrogation. Id.                 to bring suit against Tesoro to recover for the loss
                                                            of its rig, it would be seeking a double recovery for
    Here, Zurich seeks to recover from Tesoro re-           the same loss from both Zurich and Tesoro. We
imbursement for the insurance proceeds Zurich paid          hold, therefore, that Zurich, in subrogation to
Nabors for the damage to Nabors's equipment after           Nabors's rights against Tesoro for gross negligence,
the blowout. As part of its indemnification agree-          is not barred from seeking recovery from Tesoro of
ment with Tesoro, Nabors contractually waived               the insurance proceeds Zurich paid Nabors.
Zurich's right of subrogation to the rights of Nabors
against Tesoro for losses caused by Tesoro's negli-              *134 We overrule Zurich's issue three to the
gence. Zurich, however, in its point of error three,        extent it contends that Zurich has a right of subrog-
contends that Tesoro was primarily liable for               ation to those claims against Tesoro as to which
Nabors's losses because they resulted from Tesoro's         Nabors assumed liability under the indemnity
gross negligence in maintaining the Longoria No. 2          agreement in the drilling contract and waived its in-
well.                                                       surers' subrogation rights. We sustain issue three to
                                                            the extent it contends that Zurich is not barred from
     [31][32] A contractual right to indemnity              bringing suit against Tesoro in subrogation to
should be determined in the same fashion as other           Nabors's claims for losses to Nabors's due to Te-
contractual rights—as a matter of law. Fisk, 888            soro's gross negligence or willful misconduct,
S.W.2d at 815. A liability insurer for an oil well          which are beyond the scope of the indemnity agree-
driller or operator does not waive its right to sub-        ment.
rogation to its insured's claims against the other
party for matters beyond the scope of the indemnity         C. The No–Evidence Summary Judgment
agreement between those parties. See Ken Petro-                 In issue six, Zurich argues that the no-evidence
leum Corp. v. Questor Drilling Corp., 24 S.W.3d             summary judgment was improperly granted.
344, 355 (Tex.2000) (a waiver of subrogation by an
oil well operator or drilling contractor for liabilities         On August 9, 1999, the trial court signed an
assumed under the contract does not waive the in-           amended order on Tesoro's motion for partial sum-
surer's right to subrogation to enforce the indemnity       mary judgment. On appeal, Zurich argues that this
agreement). The parties to the indemnity agreement          order is ambiguous because it does not specifically
must look to their own contract to determine what           state that the court is granting a no-evidence sum-
subrogation rights they may insist that the other           mary judgment. Tesoro filed its motion for partial
party require its insurers to waive. Id. at 356–57.         summary judgment “pursuant to Rules 166a(c) and
Where a party to an indemnity contract relating to          166a(i),” thus encompassing both traditional and
an oil and gas well is not contractually obligated to       no-evidence summary judgments. We, therefore,
enforce a waiver of subrogation, the other party            consider the trial court's summary judgment with
cannot insist that it assert a waiver of subrogation.       respect to both subsections of rule 166a.
See id. at 356.
                                                                To establish its right to summary judgment, Te-




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 18 of 56
                                                                     Page 18
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




soro had to establish as a matter of law (1) that the      of the dangers associated with them and with con-
indemnity agreement between itself and Nabors, in-         scious indifference to the rights, safety, or welfare
cluding each party's waiver of its insurer's subroga-      of others. He concluded that Tesoro was grossly
tion rights for liabilities assumed by that party, was     negligent and that its negligence and gross negli-
valid and enforceable, (2) that the subrogation            gence proximately caused the loss of Nabors's rig.
rights Zurich was attempting to enforce against Te-
soro had been waived, and (3) that Zurich's filing              *135 We find a trier of fact must be guided
suit in subrogation to Nabors's rights against Tesoro      solely by expert opinion testimony with respect to
constituted a breach of the drilling contract. We          the matters to which Guidry's affidavit testifies and
have held that the indemnity agreement is enforce-         the affidavit is clear, positive, and direct, otherwise
able and Nabors waived Zurich's right to subroga-          credible and free from contradictions and inconsist-
tion as to losses for which Nabors assumed liabil-         encies and could have been readily controverted.
ity. However, Nabors did not assume liability for          See TEX.R. CIV. P. 166a(c). We further find that
losses to itself caused by Tesoro's gross negligence       reasonable and fair-minded people could differ in
or willful misconduct, and it did not waive Zurich's       their conclusions as to whether the acts and omis-
right to subrogation to recover insurance proceeds         sions testified to by Guidry were the result of Te-
it had paid Nabors for such losses. Therefore, to de-      soro's conscious indifference to the right or welfare
feat Tesoro's right to summary judgment, Zurich            of affected persons, as required to establish gross
had to raise a fact issue as to whether its damage         negligence. See Luna v. North Star Dodge Sales,
claims lay outside the scope of the indemnity agree-       Inc., 667 S.W.2d at 118. We therefore hold that
ment. See TEX.R. CIV. P. 166a(c), (i). Specifically,       Zurich raised a material fact issue as to whether the
Zurich had to produce more than a scintilla of pro-        blowout of the Longoria No. 2 well was caused by
bative evidence that the blowout was caused by Te-         Tesoro's gross negligence.
soro's gross negligence, evidence on the basis of
                                                                We sustain Zurich's issue six and reverse the
which “reasonable and fair-minded people could
                                                           summary judgment entered against Zurich in favor
differ.” See Burroughs Wellcome Co., 907 S.W.2d
                                                           of Tesoro. Because the foregoing issues are dispos-
at 499.
                                                           itive of Zurich's appeal, we need not address its re-
     [33] To raise a fact issue with respect to Te-        maining issues.
soro's gross negligence, Zurich presented the affi-
                                                                               V. Conclusion
davit of Warren Guidry, its expert. Having estab-
                                                                We affirm the trial court's summary judgment
lished his credentials as a petroleum engineer with
                                                           requiring Tesoro to indemnify Nabors. We reverse
knowledge of the relevant facts, Guidry testified by
                                                           the summary judgment decreeing that Zurich
affidavit that Tesoro, as the operator of the Longor-
                                                           breached the waiver-of-subrogation agreement by
ia No. 2 well, should have stopped the drilling of
                                                           filing suit in subrogation to Nabors's rights against
the Longoria No. 2 well at the depth of 8973 feet
                                                           Tesoro. We remand Zurich's cause of action to the
and inserted a liner in the hole prior to resuming
                                                           trial court.
drilling. Guidry testified that this act would have
prevented the blowout. He further testified that Te-       Former Chief Justice MICHAEL H. SCHNEIDER,
soro provided inadequate well-site supervision by          who sat on the original panel for this appeal, was
drilling further without setting a liner, by allowing      appointed Justice of the Texas Supreme Court on
the well to flow repeatedly without shutting it in,        September 6, 2002 and did not participate in this
and “by allowing an uncontrollable amount of in-           Opinion.
flux and unloading the well.” Guidry testified that
these acts were done with Tesoro's full knowledge          Tex.App.–Houston [1 Dist.],2002.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 19 of 56
                                                                    Page 19
106 S.W.3d 118, 162 Oil & Gas Rep. 1243
(Cite as: 106 S.W.3d 118)




Tesoro Petroleum Corp. v. Nabors Drilling USA,
Inc.
106 S.W.3d 118, 162 Oil & Gas Rep. 1243

END OF DOCUMENT




                        © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 20 of 56

                                                                                                          Page 1
842 S.W.2d 343
(Cite as: 842 S.W.2d 343)




                                                            30 Appeal and Error
                                                               30XVI Review
            Court of Appeals of Texas,                              30XVI(A) Scope, Standards, and Extent, in
                      Tyler.                                General
                                                                       30k851 Theory and Grounds of Decision
  JOSEPH THOMAS, INC., and Marvin Mackey,
                                                            of Lower Court
   Assignee of Joseph Thomas, Inc., Appellants,
                                                                         30k854 Reasons for Decision
                       v.
                                                                             30k854(5) k. Direction of Verdict,
         Terry GRAHAM, Sr., Appellee.
                                                            Dismissal, or Nonsuit. Most Cited Cases
                No. 12–90–00091–CV.                             Party appealing grant of directed verdict for
                    Oct. 30, 1992.                          which no specific grounds were recited must
                                                            demonstrate that none of the grounds asserted by
     Subcontractor who had not been paid for the            movant entitle movant to directed verdict.
work that it performed on construction project
brought suit against party which had agreed to pro-         [3] Trial 388      139.1(17)
tect property owner from general contractor's non-
                                                            388 Trial
performance of construction agreement. The 114th
                                                                388VI Taking Case or Question from Jury
Judicial District Court, Smith County, directed ver-
                                                                      388VI(A) Questions of Law or of Fact in
dict in favor of defendant, and subcontractor ap-
                                                            General
pealed. The Court of Appeals, Ramey, C.J., held
                                                                      388k139.1 Evidence
that defendant was “guarantor” and not
                                                                          388k139.1(5) Submission to or With-
“indemnitor,” for purpose of deciding when statute
                                                            drawal from Jury
of limitations on subcontractor's claim began to run.
                                                                              388k139.1(17) k. Insufficiency to
    Affirmed.                                               Support Other Verdict; Conclusive Evidence. Most
                                                            Cited Cases
                  West Headnotes                                 Directed verdict is proper when evidence con-
                                                            clusively proves fact that establishes movant's right
[1] Appeal and Error 30         927(7)                      to judgment as matter of law.

30 Appeal and Error                                         [4] Limitation of Actions 241       56(2)
   30XVI Review
      30XVI(G) Presumptions                                 241 Limitation of Actions
           30k927 Dismissal, Nonsuit, Demurrer to              241II Computation of Period of Limitation
Evidence, or Direction of Verdict                                   241II(A) Accrual of Right of Action or De-
               30k927(7) k. Effect of Evidence and          fense
Inferences Therefrom on Direction of Verdict. Most                        241k56 Reimbursement or Indemnity
Cited Cases                                                 from Person Ultimately Liable
    In reviewing grant of directed verdict, appellate                       241k56(2) k. Indemnity. Most Cited
court must view evidence in light most favorable to         Cases
nonmovant and disregard all evidence and infer-                  Statute of limitations on action on contract of
ences to the contrary.                                      indemnity does not begin to run until final judg-
                                                            ment is rendered in favor of plaintiff against indem-
[2] Appeal and Error 30         854(5)                      nity.




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 21 ofPage
                                                                        56 2
842 S.W.2d 343
(Cite as: 842 S.W.2d 343)




[5] Limitation of Actions 241           46(10)                           195k27 k. General Rules of Construction.
                                                               Most Cited Cases
241 Limitation of Actions                                          Traditionally, guarantor is favorite of law, and
   241II Computation of Period of Limitation                   creditors' claims against him are strictly construed.
        241II(A) Accrual of Right of Action or De-
fense                                                          [9] Guaranty 195        4
          241k46 Contracts in General
               241k46(10) k. Guaranty. Most Cited              195 Guaranty
Cases                                                              195I Requisites and Validity
     Statute of limitations on action on absolute                      195k4 k. Guaranty Distinguished from Other
guaranty begins to run upon primary obligor's de-              Contracts. Most Cited Cases
fault.                                                              In deciding whether contract establishes guar-
                                                               anty or indemnity relationship, it is nature of rela-
[6] Guaranty 195          42(1)                                tionship, and not language in agreement, that con-
                                                               trols.
195 Guaranty
   195II Construction and Operation                            [10] Indemnity 208          25
      195k42 Conditions
              195k42(1) k. In General. Most Cited              208 Indemnity
Cases                                                             208II Contractual Indemnity
    “Absolute guaranty” is written guaranty that is                  208k25 k. In General. Most Cited Cases
unqualified and expresses no condition for payment                (Formerly 208k1)
of debt.                                                           Contract of indemnity is original obligation
                                                               between contracting parties independent of other
[7] Guaranty 195          42(1)                                agreements.

195 Guaranty                                                   [11] Guaranty 195           1
   195II Construction and Operation
      195k42 Conditions                                        195 Guaranty
             195k42(1) k. In General. Most Cited                   195I Requisites and Validity
Cases                                                                   195k1 k. Nature of Obligation. Most Cited
                                                               Cases
Guaranty 195         72                                             Unlike contract of indemnity, guaranty contract
                                                               is collateral and secondary to principal contract that
195 Guaranty                                                   is guaranteed.
   195III Discharge of Guarantor
        195k72 k. Waiver or Estoppel of Guarantor.             [12] Guaranty 195           4
Most Cited Cases
    Absolute guarantor is primarily liable and                 195 Guaranty
waives any requirement that creditor take action                   195I Requisites and Validity
against principal obligor as condition to his liability               195k4 k. Guaranty Distinguished from Other
on guaranty.                                                   Contracts. Most Cited Cases
                                                                    Party's agreement to protect property owner
[8] Guaranty 195          27                                   from general contractor's nonperformance of gener-
                                                               al construction contract was contract of guaranty
195 Guaranty                                                   and not indemnity, for purpose of deciding when
   195II Construction and Operation                            statute of limitations began to run on unpaid sub-




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 22 ofPage
                                                                        56 3
842 S.W.2d 343
(Cite as: 842 S.W.2d 343)




contractor's action against guarantor.                        Tyler, Texas and Joseph Thomas, Inc., we guar-
                                                              antee that it will not cost you any money. If you
*344 H.L. McGee, Tyler, for appellants.                       are forced to pay any labor or material bills, we
                                                              will reimburse you all the money you have been
Willis Jarrel, Sr., Tyler, for appellee.
                                                              out together with any and all expenses plus 10%
                                                              interest on money spent including attorney's fees.
Before RAMEY, C.J., and COLLEY and BILL
BASS, JJ.                                                       Yours very truly,

                                                                FERRIER CONSTRUCTION
RAMEY, Chief Justice.
     Marvin Mackey, dba Mackey–Harris Excavat-                  CO., INC.
ing and Paving Company (“Mackey”), appeals from
                                                                BY:s/ Mrs. Joyce Ferrier
a judgment following the trial court's instructed
verdict in favor of the Defendant, Terry Graham,                President
Sr. (“Graham”), after Mackey had rested his case.
Mackey's suit arose out of a written agreement                  s/ Mrs. Joyce Ferrier
between Graham and Ferrier Construction Com-
pany (“Ferrier”), the general contractor on a project           Individually
in Tyler known as Park East Business Center (“Park
                                                              ACCEPTED BY:
East”), which was owned by Joseph Thomas, Inc.
(“Thomas”), the sole stockholder of which was one             s/ Terry Graham
Joe Mangione (“Mangione”), and Joyce Ferrier, in-
dividually. Mackey was an asphalt paving sub-                 Terry Graham, Sr.
contractor whose work on the project was duly ac-
cepted by the general contractor and owner, but for              The parties to the underlying general construc-
which he has not been paid. We will affirm.                 tion contract for the Park East improvements were
                                                            Thomas, the owner, and Ferrier, the general con-
     The instrument made the basis of this suit is as       tractor. Ferrier then agreed with the various sub-
follows:                                                    contractors, including Mackey, to construct the
                                                            project. After completion of the paving, Mackey
  July 9, 1979                                              filed suit for payment for his work against Ferrier
                                                            and Mangione on November 17, 1980. In early
  Mr. Terry Graham
                                                            1981, Ferrier Construction Company filed for bank-
  2101 East Fifth Street                                    ruptcy protection; the cause of action against that
                                                            entity was abated. It is not disputed that in Decem-
  Tyler, Texas 75701                                        ber 1981 or January 1982 Mackey had knowledge
                                                            of the above-quoted letter agreement between Ferri-
  Dear Mr. Graham:                                          er and Graham.

    This will confirm our agreement with you that               The corporate owner, Thomas, was joined as a
  in consideration of you guaranteeing our contract         defendant in the first suit in July 1984. Some two
  with Joseph Thomas, Inc., we will pay you a fee           years later, on August 6, 1986, by agreement
  of SIX THOUSAND ($6,000.00) DOLLARS, the                  between Mackey, Mangione and Thomas, Mackey
  same being a guarantors fee and for you agreeing          recovered judgment against Thomas in the first suit
  to protect the Citizens First National Bank of            for $48,636.94, attorneys fees, interest and court




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 23 ofPage
                                                                        56 4
842 S.W.2d 343
(Cite as: 842 S.W.2d 343)




costs, which judgment has not been satisfied.                    Mackey has assigned three points of error. By
                                                            his first point, Mackey asserts that the Texas limita-
     Thomas then filed this suit against Graham on          tions statute had not run on his cause of action
April 16, 1987, alleging that Graham was liable to          against Graham. The four-year statute of limitations
it as indemnitor under the above agreement. On              applies. TEX.CIV.PRAC. & REM.CODE ANN. §
December 16, 1987, Thomas, joined by its presid-            16.004(a)(3) (Vernon 1992). Mackey's paving work
ent, Mangione, then assigned this cause of action           having been performed in 1979, and this suit
against Graham to Mackey. Since that date, the suit         against Graham having been filed in 1987, the cent-
has been prosecuted solely by Mackey, and Thomas            ral inquiry is when did Mackey's cause of action ac-
has not participated further.                               crue: at the time that Mackey's paving was com-
                                                            pleted and accepted but not paid by Thomas, or did
     At the trial of this second suit and after Mackey
                                                            it accrue in 1986 only after Mackey's judgment was
had rested his case, the court granted Graham's oral
                                                            rendered against Thomas.
motion for a directed verdict, and on January 16,
1990, entered its judgment thereon. No specific                  [4] It is significant whether the agreement sued
*345 grounds for the trial court's ruling were re-          on was a contract of indemnity or guaranty. If
cited in the judgment. Among the grounds for in-            Mackey's cause of action herein is upon a contract
structed verdict orally argued by Graham after              of indemnity, the statute of limitations has not run
Mackey rested his case, in addition to Mackey's             on this suit against Graham. It did not accrue until a
claim being barred by the limitations statute, were         contested or agreed final judgment was rendered in
that Thomas' assignment of the claim to Mackey              favor of Mackey against the indemnitee, Thomas,
was ineffectual as being conditional only, and that         on August 6, 1986. Conroe Truck & Tractor, Inc. v.
Thomas had paid no monies to Mackey and had not             Childs Truck Equipment, Inc., 723 S.W.2d 207
urged his various legal defenses to Mackey's suit.          (Tex.App.—Beaumont 1986, no writ); Amoco
                                                            Chemicals Corp. v. Malone Service Co., 712
     [1][2][3] In reviewing a trial court's action in
                                                            S.W.2d 611 (Tex.App.—Houston [1st Dist.] 1986,
granting a directed verdict, the appellate court must
                                                            no writ); City of San Antonio v. Talerico, 98 Tex.
view the evidence in the light most favorable to the                                    FN1
                                                            151, 81 S.W. 518 (1904).
non-movant, the party against whom the verdict
was instructed, and disregard all evidence and in-                   FN1. For an analysis of Texas indemnity
ferences to the contrary. Qantel Business Sys. v.                    law on this issue, see Koonce v. Quaker
Custom Controls, 761 S.W.2d 302, 303–304                             Safety Products & Manufacturing Com-
(Tex.1988). As acknowledged in Mackey's brief,                       pany, 798 F.2d 700 (5th Cir.1986). Also
since the trial court's judgment recited no specific                 see Wilson, CONTRIBUTION AND IN-
grounds for her ruling in granting the motion for in-                DEMNITY: When Does the Cause of Ac-
structed verdict, Mackey must demonstrate that                       tion “ACCRUE?”, 51 TEXAS BAR
none of the grounds asserted by Graham in its oral                   JOURNAL 120–24 (1988).
motion entitle Graham to the directed verdict. See
Rudolph v. ABC Pest Control, Inc., 763 S.W.2d                   [5][6] If, however, Graham's obligation to
930, 932 (Tex.App.—San Antonio 1989, writ                   Mackey arose out of an absolute contract of guar-
denied). In this case, a directed verdict is proper         anty, Mackey's cause of action herein was barred;
when the evidence conclusively proves a fact that           the cause of action against Graham under the guar-
establishes Graham's right to judgment as a matter          anty agreement accrued in 1979 when Thomas did
of law. McCarley v. Hopkins, 687 S.W.2d 510, 512            not pay Mackey for the paving work. Shepherd v.
(Tex.App.—Houston [1st Dist.] 1985, no writ).               Eric Schuster Corporation, 424 S.W.2d 693
                                                            (Tex.Civ.App.—Houston [14th Dist.] 1968, writ




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 24 ofPage
                                                                        56 5
842 S.W.2d 343
(Cite as: 842 S.W.2d 343)




ref'd n.r.e.); McGhee v. Wynnewood State Bank,                       (Tex.1979).
297 S.W.2d 876 (Tex.Civ.App.—Dallas 1956, writ
ref'd n.r.e.); Austin v. Guaranty State Bank, 300                Furthermore, Mackey's attorney admittedly had
S.W. 129 (Tex.Civ.App.—Waco 1927, no writ);                 knowledge of Graham's obligation to Thomas and
Ganado Land Co. v. Smith, 290 S.W. 920                      any other unpaid sub-contractors as early as 1981
(Tex.Civ.App.—Galveston 1927, writ ref'd). A                or January 1982, more than four years before the
written guaranty that is unqualified and expresses          filing of this suit against Graham.
no condition for the payment of the debt is an
                      FN2                                        The agreement sued on embodies two divisible,
“absolute guaranty”.       Universal Metals & Ma-
                                                            distinct obligations, one by each contracting party:
chinery, Inc. v. Bohart, 539 S.W.2d 874 (Tex.1976)
                                                            (1) Graham promised, for a fee, to guarantee Ferri-
. Graham's obligation under the terms of the letter
                                                            er's general construction contract with the owner,
agreement requires no pre-conditional activity for                                              FN4
                                                            Thomas, and “to protect” Thomas;         and (2) the
its enforcement against Graham.
                                                            other party, Ferrier, promised that the payments
         FN2. Sometimes referred to as a “guaranty          made by Graham under (1) would not cost Graham
         of payment”; it is to be distinguished from        any money, but that if it did, Ferrier would reim-
         a “guaranty of collection” or “conditional         burse Graham, including his expenses and interest.
         guaranty”.                                         Thus, the first agreement required Graham to satis-
                                                            fy Thomas' unpaid obligations on the Park East
    *346 [7][8] A judgment against the principal            project, whereas the other obligation required Ferri-
obligor, Thomas, in this case, is not a condition pre-      er to repay Graham for his expenditures on that
cedent to the accrual of an absolute guaranty. An           project.
absolute guarantor is primarily liable and waives
any requirement that the creditor take action against                FN4. As well as the interim financing in-
the principal obligor as a condition to his liability                stitution, Citizens First National Bank of
on the guaranty. Hopkins v. First Nat'l Bank at                      Tyler, Texas.
Brownsville, 551 S.W.2d 343, 345 (Tex.1977);
                                                                The latter obligation (2) was considered in a
Ford v. Darwin, 767 S.W.2d 851, 855
                                          FN3               prior appeal to this court, Joyce Ferrier v. Terry
(Tex.App.—Dallas 1989, writ denied).            Tradi-
                                                            Graham, No. 12–84–0198–CV, in which we held,
tionally, a guarantor is a favorite of the law and
                                                            in an unpublished opinion, that that second portion
creditors' claims against them are strictly construed.
                                                            of the agreement requiring reimbursement of Gra-
McKnight v. Virginia Mirror Company, 463 S.W.2d
                                                            ham by Ferrier for payments to another sub-
428, 430 (Tex.1971).
                                                            contractor was an indemnity contract. This was a
         FN3. Even those cases, since overruled,            standard direct indemnity agreement between the
         that required joinder of the principal oblig-      two contracting parties, Ferrier and Mackey.
         or in a creditor's suit against a guarantor
                                                                  [9] The first obligation, that of Graham to
         under       TEX.R.CIV.P.         31      and
                                                            Thomas' creditors, is at issue here, however. Al-
         TEX.CIV.PRAC. & REM.CODE ANN. §
                                                            though the petition herein alleges that Mackey was
         17.001 (Vernon 1992), recognized that a
                                                            asserting his claim under an indemnity agreement,
         judgment against that obligor was not a
                                                            the rights and duties of the parties is determined by
         prerequisite to recovery against the guar-
                                                            the nature of the obligation. Likewise, it is noted
         antor. See Cook v. Citizens National Bank
                                                            that there are two distinct references in the first sec-
         of Beaumont, 538 S.W.2d 460, 464
                                                            tion of the agreement to a “guaranty” relationship.
         (Tex.Civ.App.—Beaumont 1976, no writ);
                                                            It is the nature of that relationship, not the language
         Ferguson v. McCarroll, 588 S.W.2d 895




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 25 ofPage
                                                                        56 6
842 S.W.2d 343
(Cite as: 842 S.W.2d 343)




in the agreement, that controls. Wood v. Canfield
Paper Co., 117 Tex. 399, 5 S.W.2d 748, 750 (1928)
.

     [10][11][12] There are significant differences
in the construction of a contract of guaranty and an
indemnity contract. The latter is an original obliga-
tion between the contracting parties and independ-
ent of other agreements; on the other hand, a guar-
anty contract is collateral and secondary to the prin-
cipal contract that is guaranteed in the secondary
contract. Olson v. Smith, 72 S.W.2d 650, 652
(Tex.Civ.App.—El Paso, writ dism'd); 38 C.J.S.
Guaranty § 2, 4, 5 (1943). Here, Graham promised
to protect the owner, Thomas, whose obligation to
Mackey arose out of a separate and primary con-
tract. Thomas was not a party to the agreement sued
on. The instant case presents a classic collateral
agreement of guaranty by Graham of the underlying
general construction contract obligation of the own-
er, Thomas, to those who performed services on its
behalf.

     Mackey's cause of action against Graham, un-
der his agreement to guarantee Thomas' obligations
to his sub-contractors, accrued in 1979 when
Thomas defaulted on its obligation to pay Mackey
who had performed valuable services on behalf of
the owner. The four-year statute of limitations*347
on the guaranty contract, therefore, had barred the
suit against Graham which was not filed until April
1987. Mackey's first point is overruled. We hold
that Graham is entitled to his judgment on the
court's directed verdict as a matter of law. We need
not address Mackey's remaining points of error
challenging other possible grounds for the instruc-
ted verdict.

    The trial court's judgment is affirmed.

Tex.App.–Tyler,1992.
Joseph Thomas, Inc. v. Graham
842 S.W.2d 343

END OF DOCUMENT




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 26 of 56

                                                                                                           Page 1
644 S.W.2d 707
(Cite as: 644 S.W.2d 707)




                                                            95 Contracts
                                                                95V Performance or Breach
          Supreme Court of Texas.                                   95k303 Excuses for Nonperformance or De-
Don K. HANKS, d/b/a Hanks Claims Service, Peti-             fects
                   tioner,                                                 95k303(1) k. In General. Most Cited
                      v.                                    Cases
 GAB BUSINESS SERVICES, INC., Respondent.                        A breach of a covenant which is part of a leg-
                                                            ally enforceable contract gives rise to a cause of ac-
                  No. C–1095.
                                                            tion for damages rather than affecting enforceabil-
                 Dec. 31, 1982.
                                                            ity of provisions of the agreement.
         Rehearing Denied Feb. 16, 1983.
                                                            [3] Contracts 95       303(1)
     Suit was brought for breach of contract for the
sale of an insurance adjusting business. The District       95 Contracts
Court, Lubbock County, Robert C. Wright, J.,                    95V Performance or Breach
rendered judgment for buyer, and appeal was taken.                   95k303 Excuses for Nonperformance or De-
The Court of Civil Appeals, 626 S.W.2d 564, af-             fects
firmed, and further review was sought. The Su-                             95k303(1) k. In General. Most Cited
preme Court, Sondock, J., held that seller's breach         Cases
of covenant not to compete did not excuse buyer's                Seller's breach of covenant not to compete did
obligation to pay the final installment due for the         not excuse buyer's obligation to pay the final in-
business purchased where seller's breach could be           stallment due for the business purchased where
adequately compensated by damages and where                 seller's breach could be adequately compensated by
buyer, which retained the assets of the business and        damages and where buyer, which retained the assets
chose to treat the contract as continuing, waived           of the business and chose to treat the contract as
any right to partially rescind the contract.                continuing, waived any right to partially rescind the
                                                            contract.
    Reversed and rendered.
                                                            [4] Contracts 95       303(1)
                   West Headnotes
                                                            95 Contracts
[1] Contracts 95       303(1)
                                                               95V Performance or Breach
95 Contracts                                                       95k303 Excuses for Nonperformance or De-
   95V Performance or Breach                                fects
        95k303 Excuses for Nonperformance or De-                          95k303(1) k. In General. Most Cited
fects                                                       Cases
               95k303(1) k. In General. Most Cited               A party who elects to treat a contract as con-
Cases                                                       tinuing deprives himself of any excuse for ceasing
     A prerequisite to remedy of excuse of perform-         performance on his own part.
ance is that the covenants in a contract must be mu-
                                                            *707 Carr, Evans, Fouts & Hunt, Donald M. Hunt,
tually dependent promises.
                                                            Lubbock, for petitioner.
[2] Contracts 95       303(1)
                                                            Jones, Trout, Flygare, Moody & Brown, Jack A.
                                                            Flygare and Jeffrey B. Jones, Lubbock, for re-




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 27 ofPage
                                                                        56 2
644 S.W.2d 707
(Cite as: 644 S.W.2d 707)




spondent.                                                   the amount of $1,200 for the eight month period in
                                                            which Hanks actively competed in violation of the
                                                            non-competition agreement and $5,850 future dam-
SONDOCK, Justice.
                                                            ages for the remainder of the five-year covenant
     This suit arose from an alleged breach of a con-
                                                            period. GAB moved for judgment, requesting the
tract between Petitioner, Don K. Hanks, d/b/a
                                                            permanent injunction and excuse from paying the
Hanks Claims Service (“Hanks”) and GAB Busi-
                                                            final installment, in addition to the award of dam-
ness Services, Inc. (“GAB”) for the sale of an in-
                                                            ages and $6,000 stipulated attorney's fees. At that
surance adjusting business. The trial court rendered
                                                            time, the trial court required GAB to make an elec-
judgment for GAB. The court of appeals affirmed.
                                                            tion between the jury award and the excuse remedy,
626 S.W.2d 564. We reverse the judgments of the
                                                            whereupon GAB elected to be excused from mak-
courts below and render judgment for Hanks.
                                                            ing the final $33,500 payment. The trial court then
     In May of 1977, Hanks contracted with GAB              entered judgment, excusing GAB from making the
for the sale of his insurance adjustment business.          final installment, and awarding attorneys' fees on
The contract specifically included accounts receiv-         the contract.
able, ninety-five items of office furniture, goodwill,
                                                                 The question presented by this case is: Did
and a five-year covenant not to compete. The con-
                                                            Hanks' breach of the covenant not to compete ex-
tract price of $95,000 provided for payments of
                                                            cuse GAB's obligation to pay the final installment
$28,000 at closing, $33,500 due one year from the
                                                            due for the business purchased? The court of ap-
date of closing, and the balance due two years from
                                                            peals applied the rule of Morgan v. Singley, 560
closing. In connection with the sales contract,
                                                            S.W.2d 746 (Tex.Civ.App.—Texarkana 1977, no
Hanks signed an employment contract with GAB,
                                                            writ) and held that GAB was excused from making
which also contained a covenant not to compete.
                                                            the final payment. We do not agree.
     Approximately one year later, after GAB had
                                                                 [1][2][3] A prerequisite to the remedy of ex-
paid the $33,500 installment, a dispute between the
                                                            cuse of performance is that covenants in a contract
parties arose and Hanks resigned his position with
                                                            must be mutually dependent promises. Morgan v.
GAB. Hanks commenced competing with GAB in
                                                            Singley, supra. In the instant case, this rule does not
violation of the non-competition agreement. Hanks
                                                            apply because the covenant not to compete should
continued to compete until March of 1979, when he
                                                            properly be classified as an independent promise.
voluntarily ceased competition.
                                                            “The rule is that ‘when a covenant goes only to part
     *708 During the time that Hanks was compet-            of the consideration on both sides and a breach may
ing, GAB filed suit seeking injunctive relief and at-       be compensated for in damages, it is to be regarded
torney's fees for Hanks' violation of the covenant          as an independent covenant, unless this is contrary
not to compete. In July of 1979, after GAB failed to        to the expressed intent of the parties.’ ” World
tender the last installment, which was then overdue,        Broadcasting System, Inc. v. Eagle Broadcasting
Hanks filed an amended answer and counterclaim              Co., 162 S.W.2d 463, 465 (Tex.Civ.App.—San
for the final payment, exemplary damages, and at-           Antonio 1942, writ dism'd) citing 17 C.J.S., Con-
torneys fees. Later, GAB filed an amended petition          tracts, § 344, at 800. The covenant not to compete
seeking damages in addition to injunctive relief and        in the Hanks/GAB contract only goes to part of the
asking to be excused from the final installment.            contract. The contract covers numerous items and
                                                            the parties had bargained for a value of $5,000 to
     In response to the special issues submitted at         be assigned to the covenant not to compete, al-
trial, the jury found that GAB had been damaged in          though the value assigned was admittedly for tax




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 28 ofPage
                                                                        56 3
644 S.W.2d 707
(Cite as: 644 S.W.2d 707)




reasons. Further, there is no express language in the       of the contract and did not constitute “intentional
contract that indicates the parties intended the cov-       inconsistent conduct.” We disagree. At the time of
enants to be mutually dependent. As explained in            Hanks' breach, GAB could have elected to partially
Landscape Design & Construction, Inc. v. Harold             rescind the contract. Because GAB retained the as-
Thomas Excavating, Inc., 604 S.W.2d 374, 376                sets of the business and chose to treat the contract
(Tex.Civ.App.—Dallas, 1980, writ ref'd n.r.e.), “A          as continuing, it could not elect the excuse remedy
breach of a covenant which is part of a legally en-         prior to judgment.
forceable contract gives rise to a cause of action for
damages rather than affecting the enforceability of              Finally, Hanks argues that there is no evidence
the provisions of the agreement.” See Reinert v.            to support the jury's finding of $5,850 future dam-
Lawson,        113        S.W.2d        293,      295       ages for the remaining period of the five year cov-
(Tex.Civ.App.—Waco 1938, no writ). In this case,            enant. The court of appeals did not reach this ques-
Hanks' breach may be adequately compensated by              tion because it held that GAB was excused from
damages.                                                    performance. We disagree with the trial court's
                                                            judgment on this point. The bulk of GAB's evid-
     [4] Any right GAB had to partially rescind the         ence on future damages was excluded by the trial
contract when Hanks breached the covenant not to            court. The remaining testimony consisted of specu-
compete has been waived. A party who elects to              lation as to future losses. GAB only introduced re-
treat a contract as continuing deprives himself of          cords of claims and gross amounts rather than com-
any excuse for ceasing performance on his own               pleted work or overhead figures necessary to com-
part. See Board of Regents, University of Texas v. S        pute future profits.
& G Construction Co., 529 S.W.2d 90
(Tex.Civ.App.—Austin 1975, writ ref'd n.r.e.);                   The judgments of the courts below are reversed
Houston Belt & Terminal Ry. Co. v. J. Weingarten,           and judgment is here rendered that Hanks recover
Inc., 421 S.W.2d 431 (Tex.Civ.App.—Houston [1st             the final installment with an offset for the $1,200
Dist.] 1967, writ ref'd n.r.e.). At all times during the    damages found by the jury in favor of GAB plus
dispute and subsequent litigation, GAB chose to             prejudgment interest from June 1, 1979, to date of
treat the contract as continuing. GAB retained all          judgment. In light of the fact that both parties pre-
the assets of the business and continued its opera-         vailed on their respective actions under the con-
tion. Moreover, GAB did not pursue its excuse rem-          tract, we render judgment that neither party recover
edy until it had already instituted action to enforce       attorneys' fees.
the contract, well over a year after Hanks' breach of
                                                            ROBERTSON, J., not sitting.
the covenant not to compete.
                                                            Tex.,1982.
     *709 In holding that GAB had not elected its
                                                            Hanks v. GAB Business Services, Inc.
remedy prior to judgment, the court of appeals re-
                                                            644 S.W.2d 707
lied on this Court's decision in Bocanegra v. Aetna
Life Ins. Co., 605 S.W.2d 848 (Tex.1980). The               END OF DOCUMENT
court reasoned that neither GAB's filing of the law-
suit nor its retention of the business operated as a
“conclusive choice” that would create a “manifest
injustice” within the meaning of the Bocanegra
test. Similarly, the court held that GAB's actions
did not waive its excuse remedy, reasoning that
GAB's actions were only consistent with the closing




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 29 of 56

REST 2d CONTR § 195                                                                                           Page 1
Restatement (Second) of Contracts § 195 (1981)




                                       Restatement of the Law — Contracts
                                        Restatement (Second) of Contracts
                                           Current through April 2011

                             Copyright © 1981-2011 by the American Law Institute

                            Chapter 8. Unenforceability On Grounds Of Public Policy
                              Topic 4. Interference With Other Protected Interests

§ 195. Term Exempting From Liability For Harm Caused Intentionally, Recklessly Or Negligently

Link to Case Citations

  (1) A term exempting a party from tort liability for harm caused intentionally or recklessly is unen-
forceable on grounds of public policy.

    (2) A term exempting a party from tort liability for harm caused negligently is unenforceable on
grounds of public policy if
        (a) the term exempts an employer from liability to an employee for injury in the course of his em-
    ployment;
        (b) the term exempts one charged with a duty of public service from liability to one to whom that
    duty is owed for compensation for breach of that duty, or
      (c) the other party is similarly a member of a class protected against the class to which the first
    party belongs.

   (3) A term exempting a seller of a product from his special tort liability for physical harm to a user or
consumer is unenforceable on grounds of public policy unless the term is fairly bargained for and is con-
sistent with the policy underlying that liability.

Comment:
   a. Rationale. The law of torts imposes standards of conduct for the protection of others against unreasonable
risk of harm. One cannot exempt himself from such liability for harm that is caused either intentionally or reck-
lessly. See Restatement, Second, Torts § 500. (As to the possibility that one party's consent may give the other a
defense under the law of torts, see Restatement, Second, Torts §§ 892-92D.) However, a party to a contract can
ordinarily exempt himself from liability for harm caused by his failure to observe the standard of reasonable care
imposed by the law of negligence. See Restatement, Second, Torts § 282. This rule is subject to an exception if
the other party is a member of a protected class. Two examples of this exception are widely recognized. First, an
employer is not permitted to exempt himself from liability to his employee for negligently caused injury
(paragraph (a)). Second, one who is charged with a duty of public service, such as a common carrier or a public
utility, and who undertakes to perform it for compensation, is not permitted to exempt himself from liability to
the one to be served for negligent breach of that duty (paragraph (b)). The rigor of this rule may, however, be
mitigated by a fairly bargained for agreement to limit liability to a reasonable agreed value in return for a lower
rate. In most jurisdictions legislation has altered the rule in specific situations, usually by restricting the power
to limit liability. The two examples given under Subsection (2) are not intended as an exhaustive list of situ-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 30 ofPage
REST 2d CONTR § 195
                                                                        56 2
Restatement (Second) of Contracts § 195 (1981)




ations in which such terms are unenforceable. If, for example, a statute imposes a standard of conduct, a court
may decide on the basis of an analysis of the statute, that a term exempting a party from liability for failure to
conform to that standard is unenforceable. See § 179(a).

Illustrations:
      1. A, a common carrier, issues a pass to B, one of its employees. A term of the pass exempts A from liabil-
   ity to B for any injury caused by A's negligence. The term is unenforceable on grounds of public policy. En-
   forcement of a similar term in a pass given gratuitously to one who is not an employee would not be precluded
   on those grounds.2. A term in an agreement between A, a railroad, and B, an adjacent land owner, exempts A
   from liability to B for fires negligently caused by sparks from its engines. Because the term does not exempt A
   from liability for breach of its duty of public service, its enforcement is not precluded on grounds of public
   policy. The term would be unenforceable on those grounds if it exempted A from liability for harm caused
   either willfully, intentionally or recklessly.

  b. Relation to other rules. Language inserted by a party in an agreement for the purpose of exempting him
from liability for negligent conduct is scrutinized with particular care and a court may require specific and con-
spicuous reference to negligence under the general principle that language is interpreted against the draftsman.
See § 206. Furthermore, a party's attempt to exempt himself from liability for negligent conduct may fail as un-
conscionable. See § 208. The rule stated in this Section does not apply to an agreement by a third person to in-
demnify a party against liability in tort. The effect of a term purporting to exempt a party from the consequences
of a misrepresentation is governed by the rule stated in § 196.

  c. Strict product liability. One who sells a product in a defective condition unreasonably dangerous to the user
or consumer or to his property is subjected to liability for resulting physical harm under the rule stated in Re-
statement, Second, Torts § 402A. In general, a term exempting the seller from this liability is unenforceable on
grounds of public policy. See Comment m to Restatement, Second, Torts § 402A. Subsection (3) states an ex-
ception for the rare situation in which the term is consistent with the policy underlying the liability. This might
be the case, for example, for a term in a fairly negotiated contract between two merchants for the sale of an ex-
perimental product. Such a term would not, however, affect the rights of one who was not a party to the contract.

REPORTER'S NOTE

   This Section is based on former §§ 574, 575. See 6A Corbin, Contracts § 1472 (1962 & Supp.1980); 15 Wil-
liston, Contracts §§ 1750-51 (3d ed.1972).

   Comment a. Illustration 1 is based on Illustration 1 to former § 575. Illustration 2 is based on Illustration 2 to
former § 575; cf. Rutter v. Arlington Park Jockey Club, 510 F.2d 1065 (7th Cir.1975); Lamoille Grain Co. v. St.
Johnsbury and Lamoille County R.R., 135 Vt. 5, 369 A.2d 1389 (1976); compare Alabama Great So. R.R. v.
Sumter Plywood Corp., 359 So.2d 1140 (Ala.1978). See also Meyerow, Exculpatory Provisions in Leases of
Commercial Property—A Realistic Appraisal, 13 New England L.Rev. 739 (1978). As to exemption from liabil-
ity for failure to observe a statutory duty imposed for the protection of human life, see Warren City Lines v.
United Ref. Co., 220 Pa.Super.Ct. 308, 287 A.2d 149 (1971). For examples of legislative modification of the
common law rules, see Carriage of Goods by Sea Act, 46 U.S.C. § 1304 (1976); Interstate Commerce Act, 49
U.S.C. §§ 20(11), 1502 Note (1976); Lopez v. A/S D/S Svendborg, 581 F.2d 319 (2d Cir.1978); Comment, 47
Fordham L.Rev. 323 (1978).

  The rule forbidding terms exempting parties from harm caused intentionally is illustrated by Zuckerman-Ver-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 31 ofPage
REST 2d CONTR § 195
                                                                        56 3
Restatement (Second) of Contracts § 195 (1981)




non Corp. v. Rosen, 361 So.2d 804 (Fla.Dist.Ct.App.1978). The contrary general rule permitting such clauses as
to negligence is stated in LaFrenz v. Lake County Fair Bd., 172 Ind.App. 389, 360 N.E.2d 605 (1977); and Jones
v. Dressel, 582 P.2d 1057 (Colo.App.1978). However, some states forbid exculpatory clauses against a party's
own negligence, see, e.g., Alabama Great So. R.R. v. Sumter Plywood Corp., supra; and Agricultural Serv. Ass'n
v. Ferry-Morse Seed Co., 551 F.2d 1057 (6th Cir.1977) (applying Cal.Civ. Code § 1668 (West 1973)). Other
courts, applying the general rule as to negligence, state that such exculpatory clauses will be strictly construed
against the party relying on them, see, e.g., Belger Cartage Service v. Holland Constr. Co., 224 Kan. 320, 582
P.2d 1111 (1978); J.A. Jones Constr. Co. v. City of Dover, 372 A.2d 540 (Del.Super.Ct.1977), app. dism'd, 377
A.2d 1 (Del.1977). Compare Tunkl v. Regents of Univ. of California, 60 Cal.2d 92, 32 Cal.Rptr. 33, 383 P.2d
441 (1963). Some courts will not interpret an exculpatory clause to include a party's own negligence unless the
word “negligence” is used verbatim. See, e.g., J.A. Jones Constr. Co. v. City of Dover, supra; Della Corte v. In-
corporated Village of Williston, 60 A.D.2d 639, 400 N.Y.S.2d 357 (1977). Compare Marr Enterprises v. Lewis
Refrig. Co., 556 F.2d 951 (9th Cir.1977); Zimmer v. Mitchell and Ness, 253 Pa.Super.Ct. 474, 385 A.2d 437
(1978). Courts are more likely to uphold clauses exculpating negligence when a voluntary dangerous activity
such as sports is involved than when a less voluntary activity such as a medical procedure is involved. Compare
Zimmer v. Mitchell and Ness, supra (skiing); and LaFrenz v. Lake County Fair Bd., supra (automobile racing),
with Olson v. Molzen, 558 S.W.2d 429 (Tenn.1977) (abortion); and Leidy v. Deseret Enterprises, 252
Pa.Super.Ct. 162, 381 A.2d 164 (1977) (post-operative physical therapy).

  For two lower court opinions refusing to relieve public utilities from liability for negligence despite tariffs ap-
proved by a regulatory commission, see Denmark v. New York Tel. Co., 97 Misc.2d 205, 411 N.Y.S.2d 506
(1978); Lee v. Consolidated Edison Co., 95 Misc.2d 120, 407 N.Y.S.2d 777 (1978).

  Comment b. On the specificity of language required, see, in addition to the cases cited on this point in the Re-
porter's Note to Comment a, Lincoln Pulp & Paper Co. v. Dravo Corp., 436 F.Supp. 262 (D.Maine 1977); id.,
445 F.Supp. 507 (D. Maine 1977); Orkin Exterminating Co. v. Montagano, 359 So.2d 512
(Fla.Dist.Ct.App.1978). The three opinions cited in this paragraph also rely on the rule of interpretation against
the clause's draftsman. With respect to unconscionability, compare Louisville Bear Safety Serv. v. South Central
Bell Tel. Co., 571 S.W.2d 438 (Ky.1978); and Berjian v. Ohio Bell Tel. Co., 54 Ohio St.2d 147, 375 N.E.2d 410
(1978), with Allen v. Michigan Bell Tel. Co., 18 Mich.App. 632, 171 N.W.2d 689 (1969). See also Post-tape
Assoc. v. Eastman Kodak Co., 450 F.Supp. 407 (E.D.Pa.1978); id., 537 F.2d 751 (3d Cir.1976); LaFrenz v. Lake
County Fair Bd., 172 Ind.App. 389, 360 N.E.2d 605 (1977); Note, Fairness, Flexibility and the Waiver of Re-
medial Rights by Contract, 87 Yale L.J. 1057 (1978).

   Comment c. The exception in Subsection (2) is supported by Keystone Aeronautics Corp. v. R.J. Enstrom
Corp., 499 F.2d 146 (3d Cir.1974); see also Wheeler v. Standard Tool and Mfg. Co., 497 F.2d 897 (2d Cir.1974)
. But cf. Sterner Aero v. Page Airmotive, 499 F.2d 709 (10th Cir.1974).

Case Citations

                      Case Citations Through December 1977, Including Cross References

                             — June 1984Case Citations January 1978 — June 1984

                               — June 1989Case Citations July 1984 — June 1989

                               — June 1991Case Citations July 1989 — June 1991




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 32 ofPage
REST 2d CONTR § 195
                                                                        56 4
Restatement (Second) of Contracts § 195 (1981)




                                — June 1996Case Citations July 1991 — June 1996

                                — June 2001Case Citations July 1996 — June 2001

                                — June 2006Case Citations July 2001 — June 2006

                                — June 2010Case Citations July 2006 — June 2010

                        Case Citations Through December 1977, Including Cross References:


                                                Cross References to

                                          1. Digest System Key Numbers

  Contracts       114


                                               2. A.L.R. Annotation

  Validity and construction of “No Damage” Clause with respect to delay in building or construction contract.
74 A.L.R.3d 187.

   Validity and construction of contract exempting agricultural fair or similar bailee from liability for articles de-
livered for exhibition. 69 A.L.R.3d 1025.

  Validity and construction of contract exempting hospital or doctor from liability for negligence to patient. 6
A.L.R.3d 704.

  Conditions printed on confirmation slips as binding on customers of stock or commodity broker. 71 A.L.R.2d
1089.

  Validity, construction, and effect of limited liability or stipulated damages clause in fire or burglar alarm ser-
vice contract. 42 A.L.R.2d 591.

                             — June 1984:Case Citations January 1978 — June 1984:


                                                 No earlier citations

    C.A.4, 1983. Cit. in disc. A woman brought an action for herself and her husband against the company
  which had installed an allegedly defective fire alarm in their house. The jury returned a general verdict for the
  homeowners, and the company appealed. This court held that the district court had erred in finding a liability-
  limiting provision in the protective service contract unlawful. It ruled that the provision should be given effect
  to limit negligence damages absent a finding that the parties had not contracted as equals, but that it would be
  ineffective to limit liability for violation of a consumer protection statute since it did not expressly provide
  such limitation. The court then vacated and remanded, stating that a general verdict did not reveal the basis of
  the jury's decision. Gill v. Rollins Protective Services Co., 722 F.2d 55, 58.

    D.Mass.1982. Subsecs. (1) quot. in part in disc. The plaintiffs, husband and wife, brought this diversity ac-




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 33 ofPage
REST 2d CONTR § 195
                                                                       56 5
Restatement (Second) of Contracts § 195 (1981)




  tion to recover damages for personal injuries received by the husband when he drove his racing automobile off
  an allegedly defectively designed race track. The defendants were the race track, the landowner of record, an-
  other possible landowner, and the racing association, among others. The husband had executed a written re-
  lease in blank prior to entering the race track. The defendants moved for summary judgment on the basis of
  the release, and the plaintiffs moved to amend their complaint to allege gross negligence by all defendants.
  This court granted summary judgment for some of the defendants on the issue of ordinary negligence. Under
  pertinent state law the release executed by the husband was sufficient to prevent any suit for ordinary negli-
  gence. However, quoting the Restatement among other authorities, this court ruled that such a release was in-
  adequate as a shield against an action for gross negligence. Accordingly, this court permitted the plaintiffs to
  amend their complaint to allege gross negligence. The fact that the release did not specify who specifically
  was released from liability did not alone vitiate its effect because language in the release narrowed its applic-
  ability to a small, easily determinable group. This court also found that under state law the wife's action for
  loss of consortium was not disposed of by the husband's written release. That action was separate and main-
  tainable by the wife. Finally, this court ruled that the motion by an individual defendant, now deceased, for
  summary judgment must be denied. An issue as to land ownership at the time of the accident was unresolved
  and summary judgment was inappropriate at the time of this decision. Gillespie v. Papale, 541 F.Supp. 1042,
  1046.

     Cal.1983. Subsec. (2)(b) and com. cit. in ftn. The plaintiff brought his yacht to the defendant's marine repair
  facility to have the bottom cleaned and painted and certain repair work done. He signed a work order contain-
  ing an exculpatory clause providing that the defendant would be absolved of all losses except those resulting
  from willful misconduct. The defendant hauled the boat out of the water and did the agreed work. As the ves-
  sel was being relaunched, it fell from a marine railway and was badly damaged. The plaintiff brought an ac-
  tion claiming negligence and gross negligence on the part of the defendant, and the action was consolidated
  with an action brought by the plaintiff's insurer as subrogee. The trial court found that the exculpatory clause
  validly exempted the defendant from responsibility for negligent damage to the vessel while it was in his cus-
  tody for repairs. This court reversed. While noting that under admiralty law, an exculpatory clause freeing a
  ship repairer from liability for its negligence was not invalid as being contrary to public policy, the court nev-
  ertheless held that in this case the purported exculpatory clause did not clearly and unequivocally exclude the
  defendant's liability for negligence. Therefore, the plaintiff was permitted to maintain his action. Fahey v.
  Gledhill, 33 Cal.3d 884, 191 Cal.Rptr. 639, 644, 663 P.2d 197.

    Conn.1982. Com. (b) cit. in disc. The plaintiff bailor sued the defendant bailee for the loss of her property
  while it was in the defendant's warehouse. The lower court entered judgment for the plaintiff, finding that the
  defendant failed to rebut the presumption of negligence which arose when it did not return the bailed property,
  and that certain provisions limiting the defendant's liability did not become part of the bailment contract. The
  defendant appealed. This court held that the defendant did not rebut the presumption of negligence when it
  could not prove the actual circumstances of the fire that destroyed the plaintiff's goods. Further, the trial court
  did not err in finding that the plaintiff was unaware of the limitation of liability clauses in the receipts given
  her, even though one of them bore her signature. The court noted that the law did not favor contract provisions
  which relieve a person of his own negligence. This was particularly so in professional bailment situations
  where the parties often had unequal bargaining power. The assent of both parties was necessary to the provi-
  sions limiting the defendant's liability; the defendant could not prove that the plaintiff had actual knowledge of
  the exculpatory provisions or that her conduct warranted a reasonable belief that she had assented to them.
  The trial court credited the plaintiff's testimony that she was unaware of the provisions, and its conclusion that




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 34 ofPage
REST 2d CONTR § 195
                                                                       56 6
Restatement (Second) of Contracts § 195 (1981)




  they were not part of the contract was not clearly erroneous. This court also held that the evidence supported
  the trial court's award of damages. There was no error. Griffin v. Nationwide Moving & Storage Co., 187
  Conn. 405, 446 A.2d 799, 803.

     Hawaii App.1983. Com. (a) cit. but dist. A marine surveyor failed to discover and inform the buyer of a
  boat of the deteriorated condition of the bottom of the boat, and the buyer sued for damages when the condi-
  tion was later discovered and repaired. The lower court entered summary judgment in favor of the buyer, and
  the surveyor appealed. This court affirmed, holding that a marine surveyor would be held to a standard of
  good marine surveying practice, that there was substantial evidence to support the lower court's findings that
  the surveyor breached his duty and that he was negligent, and that an exculpatory clause in the marine survey
  report, although permissible, was not enforceable, because the buyer did not clearly and unequivocally accept
  the exculpatory provision. Krohnert v. Yacht Systems Hawaii, Inc., 4 Hawaii App. 190, 664 P.2d 738, 744.

    N.Y.1983. Cit. in disc. A contractor brought suit against a city to recover delay damages from the city. The
  facts indicate that the contract contained an exculpatory clause which provided that the contractor agreed to
  make no claim for damages for delay in the performance of the contract occasioned by any act or omission to
  act of the city or its representatives. The trial court entered judgment on the verdict in favor of the contractor,
  and the city appealed. The appellate court affirmed. This court found that the provision was entered into by
  the parties at arms' length. Thus, the court reversed, concluding that the exculpatory provision was enforce-
  able. Kalisch-Jarcho, Inc. v. City of New York, 58 N.Y.2d 377, 461 N.Y.S.2d 746, 750, 448 N.E.2d 413.

     Wis.1982. Cit. and quot. in sup., cit. in diss. op., com. (a) cit. in sup., com. (a) cit. in ftn. in diss. op., com.
  (b) cit. in sup. The plaintiff, a riding student, brought this action to recover damages from the defendant, a
  horseback riding school, for personal injuries received during a riding lesson. Prior to the lesson, the plaintiff
  executed an exculpatory contract releasing the defendant from any liability for injury incurred during the les-
  son. A provision of the form contract recited the defendant's lack of liability insurance coverage. While there
  was no such insurance when the form contract was printed, liability coverage had been obtained and was in ef-
  fect when the plaintiff signed the release. During discovery, the plaintiff learned of the insurance policy and
  attacked the validity of the exculpatory contract based on the insurance misstatement. The trial court, recog-
  nizing and enforcing the exculpatory contract, granted summary judgment to the defendant; the appellate court
  affirmed that decision when the plaintiff appealed. The plaintiff again appealed and this court reversed the de-
  cision and remanded the case. This court ruled that the exculpatory contract did not bar the plaintiff's recovery
  because the contract itself was unenforceable on public policy grounds. Citing the Restatement, this court first
  determined there was no fraudulent misrepresentation by the defendant. Quoting the Restatement extensively,
  this court then reviewed the usual public policy reasons for not enforcing exculpatory contracts and found
  none applicable. This court then stated that it would be contrary to public policy to enforce an exculpatory
  contract involving a mistake or deception in the bargaining process which is relevant to a reasonable person's
  decision to execute the release. Here, the disclaimer of any liability coverage was seen as such a mistake and
  the exculpatory contract was unenforceable. A spirited dissent opposed the expansion of public policy to in-
  clude a mere misstatement as grounds for nonenforcement, especially here where the plaintiff expressly
  denied having relied on the misstatement. Merten v. Nathan, 108 Wis.2d 205, 321 N.W.2d 173, 177-178, 178,
  180, 181.

    Wis.1983. Cit. in disc. A race car driver and his wife sued an agricultural society and others to recover for
  injuries that the husband sustained in an automobile racing accident. The trial court granted summary judg-
  ment in favor of the society on the basis of an exculpatory contract signed by the husband before the accident




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 35 ofPage
REST 2d CONTR § 195
                                                                       56 7
Restatement (Second) of Contracts § 195 (1981)




  occurred. The court of appeals reversed and remanded. The state supreme court affirmed the decision of the
  court of appeals. The exculpatory contract was not invalid as contravening public policy, but genuine issues of
  material fact existed as to whether the risk of negligent rescue operations was within the contemplation of the
  parties at the time the exculpatory contract was executed, and whether the contract was meant to encompass
  actions by defendants that may have occurred outside the area to which admission to the general public was
  prohibited. Arnold v. Shawano County Agr. Soc. 111 Wis.2d 203, 330 N.W.2d 773, 777.

       Wis.1984. Quot. in sup., coms. (a) and (b) cit. in case quot. in sup. A drapery business brought an action
    against a telephone company to recover damages for loss of business resulting from the telephone com-
    pany's omission of the business's corporate trade name from a quarter-page advertisement in the commercial
    telephone directory. The trial court entered judgment on a jury verdict in favor of the drapery business, and
    the telephone company appealed. Upon denial of certification by this court, the intermediate court reversed
    the judgment of the trial court. On review, this court reversed the intermediate court, holding that a form
    contract, used by the telephone company for directory advertising and specifically limiting the telephone
    company's liability for errors or omissions to a refund of applicable charges, was an exculpatory contract,
    unconscionable and unenforceable as against public policy. Discount Fabric House v. Wisconsin Telephone
    Co., 117 Wis.2d 587, 345 N.W.2d 417, 421.The following cases have cited or referred to § 337 of the Tent-
    ative Drafts. This is now s 195 of the Official Draft.

     N.Y.1980. Cit. in disc. The plaintiff, an international metals trader, delivered three separate lots of the in-
  dustrial metal indrium to the defendant commercial warehouse for safekeeping. The three lots of indrium were
  worth $100,000. When the metal was delivered to the defendant, it gave the plaintiff warehouse receipts for
  each lot. The terms and conditions of the bailment were printed on the back of the receipts. One of the condi-
  tions was that the warehouse's total liability would not exceed $50,000 unless the bailor made a written re-
  quest within twenty days to increase this liability. For two years, the defendant billed the plaintiff for storage
  of the three lots. Finally, the plaintiff requested return of one of the three lots of the metal. The defendant in-
  formed it that it was unable to locate any of the metal. The plaintiff then brought this action against the de-
  fendant warehouse for conversion, seeking to recover the full value of the indrium. The defendant rejoined
  that the metal had been stolen through no fault of the warehouse and that the terms printed on each warehouse
  receipt limited the plaintiff's potential recovery to a maximum of $50 per lot of indrium. The lower court gran-
  ted summary judgment to the plaintiff for the full value of the indrium. The appellate court affirmed. Absent
  an agreement to the contrary, a warehouse is not an insurer of goods and may not be held liable for any injury
  or loss of stored property not due to some fault on its part, but as a bailee, a warehouse is required both to ex-
  ercise reasonable care so as to prevent loss or damage to the property and to refrain from converting materials
  left in its care. It has long been the law in this state that a warehouse, like a common carrier, may limit its liab-
  ility for loss or damage to stored goods even if the injury or loss is the result of the warehouse's negligence so
  long as it provides the bailor with an opportunity to increase that potential liability by payment of a higher
  storage fee. If the warehouse house converts the goods, however, strong policy considerations bar enforcement
  of any such limitations upon its liability. A prior limitation on liability cannot be applied to diminish one's li-
  ability for injuries resulting from an affirmative and intentional act of misconduct such as conversion. When a
  warehouse converts bailed property, it ceases to function as a warehouse and loses its entitlement to the pro-
  tections afforded by the agreement of storage. In this case, the plaintiff has proffered uncontroverted proof of
  delivery of the indrium to the defendant, a proper demand for its return, and the defendant's failure to honor
  this demand. The defendant has failed to make a sufficient explanation of the loss of the plaintiff's property to
  defeat a motion for summary judgment. Its unsupported claim that the metal was stolen does not suffice to




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 36 ofPage
REST 2d CONTR § 195
                                                                       56 8
Restatement (Second) of Contracts § 195 (1981)




  raise any issue of fact on this point. The record therefore suffices to sustain the plaintiff's action in conversion
  and renders the contractual limitation upon the defendant's liability inapplicable. The dissent disagreed with
  this conclusion. It argued that the plaintiff was not entitled to summary judgment because the plaintiff had
  failed to prove that the defendant intentionally worked to deprive the plaintiff of its property. Without proof of
  intentional misconduct, the plaintiff cannot sustain an action in conversion. I.C.C. Metals, Inc. v. Municipal
  Warehouse Co., 50 N.Y.2d 657, 431 N.Y.S.2d 372, 376, 409 N.E.2d 849, 852.

     Va.1978. Quot. in part in sup. In an action where recovery was sought against a power company and a con-
  tractor, which performed work on the company's facilities for damage resulting to a private home as a result of
  a fire allegedly caused by the power company's and the contractor's negligence in repairing electrical lines to a
  home, the company filed a cross-claim against the contractor to recover under an indemnity clause in their
  contract. After the company and the contractor settled plaintiff homeowner's claim, the trial court awarded
  judgment against the contractor. The appellate court reversed the judgment of the trial court, dismissed the
  power company's cross-claim and entered final judgment for the contractor. Held, inter alia, public policy for-
  bids common carriers and other public service companies, including a power company, from directly or indir-
  ectly contracting against liability for breach of public duties through a contract of exemption or one of indem-
  nification, and the power company was engaged in the performance of a public duty when it restored electrical
  service to the home; therefore, to the extent that the indemnity clause permitted evasion of liability to mem-
  bers of the public, the clause must be declared invalid. Richardson-Wayland Electric Corp. v. Virginia Electric
  & Power Co., 219 Va. 198, 247 S.E.2d 465, 467.

                              — June 1989:Case Citations July 1984 — June 1989:


     C.A.1, 1985. Cit. in disc. Independent toy inventors sued a toy manufacturer, alleging misappropriation of
  ideas and technology, fraud, and breach of contract. The inventors had signed a disclosure agreement with the
  manufacturer and had given him a trade secret, the blueprint of an electronic game. The jury awarded damages
  to the inventors but the court overturned the verdict and entered judgment notwithstanding the verdict in favor
  of the manufacturer, holding that the disclosure agreement was legally dispositive of the misappropriations al-
  legations. Reversing, this court held that the disclosure agreement was ambiguous and thus presented a ques-
  tion for the jury; the court reinstated the verdict. The court reasoned that, unless contractual language is clear,
  a party cannot exempt itself from liability for its own gross negligence or misrepresentations. The court also
  held that the formation of a confidential relationship imposes upon the disclosee the duty to maintain in the ut-
  most secrecy the information received. Burten v. Milton Bradley Co., 763 F.2d 461, 465.

     C.A.6, 1988. Cit. in sup. (Erron. cit. as Torts 2d.) Members of a religious commune were convicted by the
  trial court of willfully holding a minor to “involuntary servitude” after they beat the child to death for not do-
  ing his work. Affirming, this court held that the defendants were not immune from prosecution merely be-
  cause they had the parents' consent to beat and otherwise punish the children of the commune. The court
  reasoned that a person could not consent by contract to suffer criminal wrongs or to allow a third person to
  harm their child. U.S. v. King, 840 F.2d 1276, 1283.

     S.D.Ill.1986. Cit. in disc. A worker who was injured in a fall sued the owner of the premises for negligence
  in violating a state work safety statute. The owner sued the worker's employer, asserting that the employer was
  liable under the indemnity clause in their construction contract. This court dismissed the third-party claim
  against the employer, holding that both the state statute and common law prohibited indemnification for the




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 37 ofPage
REST 2d CONTR § 195
                                                                       56 9
Restatement (Second) of Contracts § 195 (1981)




  property owner's own negligence. Stifle v. Marathon Petroleum Co., 644 F.Supp. 260, 262.

    D.Me.1987. Subsec. (1) cit. in ftn. An employee of a cleaning company who was injured while cleaning a
  property owner's premises was then laid off by his employer. The property owner sued the cleaning company
  for indemnification after he was sued by the employee for negligence and tortious interference with his em-
  ployment relationship. This court granted in part and denied in part the third-party defendant's motion for
  summary judgment, stating that because the cleaning contract did not entitle the property owner to indemnity
  for its intentional torts, it was not necessary for the court to decide whether the rule against clauses exempting
  a party from liability for that party's own intentional torts applied. Gatley v. United Parcel Service, Inc., 662
  F.Supp. 200, 203.

     D.Me.1987. Cit. in disc., com. (b) cit. in disc. A utility district sued a corporate customer for the costs of ex-
  panding its treatment facility and for the waste treatment costs it incurred after the customer stopped dischar-
  ging waste to the facility. The customer sought contractual indemnification from the utility district for the
  costs of its activities on the customer's property. This court awarded the plaintiff the costs of expansion, but
  denied its claim for waste treatment costs. The court found for the customer on the indemnification agreement,
  holding that it was enforceable except to the extent that the customer sought indemnification for harm that it
  negligently, recklessly, willfully, or intentionally caused. The court further held that the customer was not en-
  titled to indemnification for the costs of ground water monitoring because it had at least negligently caused the
  threat of ground water contamination at the landfill. Paris Utility Dist. v. A.C. Lawrence Leather Co., 665
  F.Supp. 944, 959.

    W.D.Va.1988. Subsec. (3) quot. in disc. A coal company that purchased a shaft used in a mine coal hoisting
  mechanism that failed sued the manufacturer of the shaft for consequential and punitive damages, alleging
  negligent or intentional failure to warn of a defect. The court granted the defendant's motion for summary
  judgment, holding that a limitations clause in the sales contract that excluded consequential and special dam-
  ages was not void as to public policy for an intentional failure to warn. The court reasoned that the term was
  fairly bargained for between two parties with equal bargaining power and the contract concerned private busi-
  ness affairs, not a matter of interest to the public. Island Creek Coal Co. v. Lake Shore, Inc., 692 F.Supp. 629,
  633, 634, judgment reversed 884 F.2d 1388 (4th Cir.1989).

    D.V.I.1986. Subsec. (2)(a) quot. in sup. The plaintiff was hired by the defendant university as a support
  diver for a research project. After numerous dives, he allegedly suffered permanent injuries and he sued the
  defendant for maintenance of cure. The court held that the releases signed by the plaintiff were either void or
  inapplicable and denied the cross-motions for summary judgment. The court reasoned that, when a release is
  drawn by a defendant and the plaintiff passively accepts it, its terms will be strictly construed against the de-
  fendant. Further, the court reasoned that the terms exempting the university from liability to an employee for
  injury during his employment violated public policy and that courts were in general agreement that those
  terms would not be given effect. Etu v. Fairleigh Dickinson University West Indies, 635 F.Supp. 290, 295.

    E.D.Wis.1986. Subsec. (1) quot. in case cit. in sup. A bank purchased several promissory notes and security
  agreements from another bank that were later defaulted on by the client. The purchasing bank sued the selling
  bank alleging that it had purchased the notes in reliance on the defendant's intentional and/or reckless misrep-
  resentations. This court granted in part and denied in part the defendant's motion for summary judgment, hold-
  ing, inter alia, that the disclaimer clause in the contract of sale did not excuse intentional or reckless action by
  the defendant because public policy would not permit its intentional and reckless wrongdoing to go unpun-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 38 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 10
Restatement (Second) of Contracts § 195 (1981)




  ished; for this reason, disclaimers of liability are ineffective against claims of fraudulent misrepresentation.
  Republicbank Dallas v. First Wis. Nat. Bank, 636 F.Supp. 1470, 1473.

    Alaska, 1988. Cit. in sup. Purchasers under a state farm development program who failed to meet loan
  deadlines agreed to a stipulation that granted an extension but also waived “any and all defenses” against the
  seller's foreclosure action. When the extension deadline was not met, the seller withheld approved loans and
  moved for judgment on the stipulation. The trial court granted summary judgment for the seller. Reversing
  and remanding, this court held that “any and all defenses” was an ambiguous clause and was unenforceable
  against defenses arising after the stipulation because it did not distinguish between past and future defenses,
  and that there was sufficient evidence of frustration to preclude summary judgment. The court noted that the
  defendants had not expressly waived future defenses, and because such a waiver is disfavored, the court would
  not infer it. Wassink v. Hawkins, 763 P.2d 971, 975.

    Ariz.App.1987. Quot. in disc., com. (b) cit. in disc. A woman who was severely injured while watching an
  automobile race in an unprotected area sued the race track operator for negligence. The jury entered a general
  verdict for the defendant. Affirming, this court held that a release of liability form signed by the plaintiff was
  not invalid on public policy grounds where there was no employment relationship between the parties, the
  plaintiff was not a member of a protected class, and the defendant was not engaged in an activity affected with
  a public interest; moreover, the release was not unconscionable due to unequal bargaining power. Valley Nat.
  Bk. v. Stock Car Auto Racing, 153 Ariz. 374, 736 P.2d 1186, 1189.

     Cal.App.1986. Com. (a) cit. in disc. A bicyclist who was injured while participating in a race organized by
  a cycling federation sued the federation for negligence in the preparation and maintenance of the race course.
  The trial court granted the defendant's motion for summary judgment. This court affirmed the decision, stating
  that the trial court correctly found that the release form signed by the plaintiff was enforceable, since the situ-
  ation complained of did not present a transaction affecting the public interest as defined by state law. Okura v.
  U.S. Cycling Federation, 186 Cal.App.3d 1462, 231 Cal.Rptr. 429, 431.

    Ill.App.1989. Cit. in sup. The administrator of the estate of a parachuting student brought a wrongful death
  action against the school after the student died during a jump. The trial court granted summary judgment for
  the school on the ground that the exculpatory clauses in a contract signed by the decedent released the school
  from liability. Affirming in part and reversing in part, this court held that the decedent was sufficiently know-
  ledgeable of the danger of the activity to have expressly assumed the risk by signing the contract. The court,
  however, voided the clause exculpating the school from responsibility for the results of willful or wanton mis-
  conduct, reasoning that it was against public policy. Falkner v. Hinckley Parachute Center, 178 Ill.App.3d
  597, 127 Ill.Dec. 859, 864, 533 N.E.2d 941, 946.

     Kan.1987. Cit. in sup. A homeowner sued an alarm service for damages that resulted from the failure of a
  fire alarm to warn of a fire. The trial court entered judgment on a jury verdict for the plaintiff on the ground
  that the defendant had violated the consumer protection act. Affirming, this court held that contractual limita-
  tions on liability for violations of the consumer protection act were valid only if they were fairly and know-
  ingly entered into, and that such limitations were not favored and were therefore strictly construed. Corral v.
  Rollins Protective Services, 240 Kan. 678, 732 P.2d 1260, 1271.

    Mo.App.1984. Cit. but dist. A hospital employee claiming wrongful discharge brought an action for rein-
  statement. She was dismissed after she agreed to take a polygraph test but refused to sign a consent form stat-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 39 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 11
Restatement (Second) of Contracts § 195 (1981)




  ing that she was acting voluntarily and waived all liability against the polygrapher and the hospital arising
  from the test. The hospital had required its employees to take the test as part of an investigation into the har-
  assment of hospital supervisors. The trial court dismissed the action on appeal, this court affirmed, rejecting
  the employee's argument that the hospital's conduct constituted an exception to the “employment at will” doc-
  trine in that it violated public policy. Ising v. Barnes Hospital, 674 S.W.2d 623, 625.

     N.Y.Sup.Ct.1984. Cit. in case quot. in disc. The plaintiff sought to recover for extra work caused by the de-
  fendant's alleged gross negligence in supervising security and coordinating the progress of work in a municip-
  al construction project. The defendant moved for summary judgment, based on an exculpatory clause in the
  contract. This court denied summary judgment, holding that an exculpatory clause that limits liability for
  grossly negligent acts is contrary to public policy. The court noted that there were sufficient issues of fact that,
  if proved, would demonstrate the defendant's gross negligence. Novak & Co. v. New York City Housing Au-
  th., 125 Misc.2d 647, 480 N.Y.S.2d 403, 408.

    Pa.Super.1984. Subsec. (2)(b) quot. in sup. in conc. op. The plaintiffs sued the local water company for
  negligently failing to supply sufficient amounts of water to fight a fire that damaged their businesses. The trial
  court found for the plaintiffs. This court reversed because the trial court erred when it admitted hearsay evid-
  ence. A concurring opinion stated that the defendant's tariff violated public policy because of a clause absolv-
  ing the utility from all liability in the event of a loss of water pressure. The opinion also concluded that, since
  the plaintiffs' case was not based on the theory of res ipsa loquitur, the trial court properly refused to give a res
  ipsa loquitur instruction. DeFrancesco v. Western Pennsylvania Water, 329 Pa.Super. 508, 478 A.2d 1295,
  1306.

    Tenn.1985. Cit. in disc. A motorcyclist sued the operator of a motorcycle dragway for damages for personal
  injuries resulting from the allegedly negligent operation of the dragway. After the trial court entered summary
  judgment in favor of the operator, the intermediate appellate court affirmed. Reversing, this court held that a
  genuine issue of material fact existed as to whether the track operators' actions amounted to gross negligence
  so as to negate the effect of a release and waiver signed by the motorcyclist. Adams v. Roark, 686 S.W.2d 73,
  75.

     Tenn.1988. Cit. in sup. After their home was burglarized, homeowners sued the security alarm company
  that had installed several security features in their home, claiming, inter alia, intentional fraud and intentional
  and negligent misrepresentation. The trial court entered judgment on a jury verdict for the plaintiffs. The inter-
  mediate appellate court held, inter alia, that the defendant made negligent misrepresentations that rendered the
  contractual limitations against liability inapplicable and reversed and remanded for a new trial limited to the
  question of damages only. Reversing and remanding, this court held that, since there was insufficient evidence
  as to the plaintiffs' claims of intentional fraud and misrepresentation, the parties were bound by the contractual
  limitations against liability. The court stated that in the absence of fraud or overreaching, limitations against
  liability have generally been upheld. Houghland v. Security Alarms & Services, 755 S.W.2d 769, 773.

    Tex.App.1986. Quot. in sup. The plaintiff sued a race track, alleging negligence and gross negligence for
  injuries he sustained while in the pit area of the race track. Before he was permitted to enter the pit area the
  plaintiff had to sign a release exempting the race track from liability. The lower court granted summary judg-
  ment for the race track based on this release. This court affirmed in part and reversed and remanded in part,
  holding, inter alia, that while the release exempted the race track for its negligence, the release did not exempt
  the race track for its gross negligence, as such a release would be against public policy. This court remanded




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 40 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 12
Restatement (Second) of Contracts § 195 (1981)




  this issue of gross negligence for trial. Smith v. Golden Triangle Raceway, 708 S.W.2d 574, 576.

     Wash.1988. Cit. in ftn. Students and their parents sought to enjoin the school district from requiring them to
  sign standardized release forms as a condition to participation in interscholastic athletics. The trial court gran-
  ted the plaintiffs' motion for summary judgment on the grounds that the release forms were unconscionable
  adhesion contracts and the attempt to limit liability was void as against public policy; the court permanently
  enjoined the school district from requiring the students to sign the forms. Affirming in part and reversing in
  part, this court held that the exculpatory releases from any future school district negligence were invalid be-
  cause they violated public policy. The court reasoned that public policy concerns outweighed traditional re-
  gard for freedom to contract because sports are part of scholastic activity, extensively regulated, and open to
  all students, but they are also competitively monopolistic due to a lack of alternative organized competition,
  and subject to the carelessness of coaches or others; therefore the release forms violated public policy because
  they offered no alternative ways for students to participate. Wagenblast v. Odessa Sch. No. 105-157-166J, 110
  Wash.2d 845, 758 P.2d 968, 970.

     Wis.App.1988. Quot. in case cit. in disc. A motorcycle racer sued the sponsors of a race for injuries sus-
  tained when he fell from his motorcycle during a practice run. He alleged that sponsoring a race on a danger-
  ous track constituted gross negligence and willful and reckless disregard of his rights, defeating the releases
  that the sponsors had him sign. The releases provided that in entering the race, he was relying on his own in-
  spection, skill, judgment, and ability, and not on any safety precautions taken by the sponsors. The trial court
  granted the sponsors summary judgment. This court affirmed, holding that the releases were not the types of
  exculpatory contracts that courts have voided on public policy grounds since the claim arose out of an occur-
  rence within the contemplation of the parties at the time of execution. Trainor v. Aztalan Cycle Club, Inc., 147
  Wis.2d 107, 432 N.W.2d 626, 629, 630, review denied 147 Wis.2d 889, 436 N.W.2d 30 (1988).

                              — June 1991:Case Citations July 1989 — June 1991:


     C.A.5, 1990. Com. (b) cit. in disc. A ship owner sued several parties when a loading arm fell from a grain
  elevator tower and damaged its ship. The district court held that the voyage charterers, the owner-operator of
  the grain elevator, and the designer of the structure were liable. Affirming in part, reversing in part, and re-
  manding, this court held the designer and owner-operator liable for negligence and apportioned damages
  between them, though the damages were to be recalculated and prejudgement interest awarded on remand.
  However, the charterers were held not liable on the basis of a “safe berth” clause in the absence of negligence.
  The court also determined that an inconspicuous exculpatory clause predicated on the elevator owner-oper-
  ator's dock tariff did not relieve the operator of liability. It stated that a berth application signed by the
  shipowner's agent did not incorporate by reference the indemnity provision because it did not identify by
  either date or number the specific dock tariff that purported to exculpate the operator from its own negligence.
  Orduna S.A. v. Zen-Noh Grain Corp., 913 F.2d 1149, 1153.

    D.N.J.1989. Cit. in disc. The co-owners of a nuclear power plant sued its operating owner for breach of
  contract, inter alia, arising from the shutdown of the Pennsylvania power plant. This court denied the operat-
  or's motion to dismiss the tort claims; however, it granted the motion to dismiss the fraud claim for lack of
  particularity, with leave to amend. The court determined, in part, that the claim that the operator did not suffi-
  ciently perform its contractual duties was essentially a contract claim, where the co-owners alleged that they
  did not receive the benefit of their bargain. However, it subsequently determined that Pennsylvania law could




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 41 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 13
Restatement (Second) of Contracts § 195 (1981)




  subject the defendant to tort liability for improperly performing its contractual duties. The court refused to ex-
  cuse the defendant's wilful violations of safety regulations and intentionally tortious behavior on the basis of
  an exculpatory clause in the contract between the parties. It noted that exculpatory clauses are construed
  strictly, and are void if they conflict with public policy. Public Service Ent. Group v. Philadelphia Elec., 722
  F.Supp. 184, 211.

     N.Y.Sup.Ct.1989. Cit. but dist. (Erron. cit. as Restatement of Contracts.) A dental patient who took advant-
  age of a dental school clinic's lower-priced services signed a standard form waiver releasing the clinic from li-
  ability arising out of treatment by its students. The patient sued the clinic and its students for dental malprac-
  tice, claiming that the release form was not intended to relieve the defendants from responsibility for their
  negligent acts, and that to give the release such effect would be against public policy. This court denied the
  defendants' motion for summary judgment and awarded the plaintiff partial summary judgment dismissing the
  defendants' affirmative defense based on the release form. It held that the release could not survive close scru-
  tiny because its terms did not state clearly that behavior involving negligence or fault was exempted from suit.
  The court noted that while exculpatory contracts are void where they bar suits against willful or gross negli-
  gence, they may generally be enforced where the claim sought to be foreclosed is grounded in ordinary negli-
  gence, but only after being subjected to intense judicial scrutiny. DeVito v. N.Y.U. College of Dentistry, 145
  Misc.2d 144, 544 N.Y.S.2d 109, 110.

    Wis.App.1990. Quot. in case quot. in sup., com. (a) cit. in sup. The wife of a water skier who was killed at a
  water-ski show sued the driver of the following boat, as well as other participants in the show and their in-
  surers, for reckless conduct resulting in her husband's death, inter alia. The defendants moved for summary
  judgment on the ground that the decedent signed a release that barred the plaintiff's claims. The trial court
  denied the defendants' motion. Affirming in part, reversing in part, and remanding, this court held as a matter
  of law that the release did not bar the plaintiff's reckless conduct claim and that the issue of whether the driver
  of the following boat acted recklessly was for the jury to decide. Dobratz v. Thomson, 155 Wis.2d 307, 455
  N.W.2d 639, 645, 646.

                              — June 1996:Case Citations July 1991 — June 1996:


    C.A.3, 1995. Subsec. (2)(b) quot. in sup., cit. in case cit. in sup., cit. in headnote, and cit. generally in ftn.
  An architectural firm and a real estate developer entered into a contract that contained a limitation of liability
  clause. District court granted developer partial summary judgment, holding that the disputed clause was part
  of the contract but that it violated public policy and was therefore unenforceable. This court reversed and dis-
  missed for lack of jurisdiction, holding, inter alia, that the disputed clause was not contrary to the
  Pennsylvania statute's specific public policy prohibiting architects from entering into hold-harmless clauses.
  The court stated that statute applied to contracts between architects and owners, not architects and developers.
  Further, the statute did not charge firm with any generalized duty to the public that could elevate its private
  contracts to matters of public concern. Valhal Corp. v. Sullivan Associates, Inc., 44 F.3d 195, 197, 201, 206,
  rehearing denied 48 F.3d 760 (3d Cir.1995).

    N.D.Ill.1994. Quot. in case quot. in sup., cit. in disc. Funny-car driver whose vehicle collided with a van
  parked on a racetrack and was damaged in the ensuing fire sued the racetrack owner for damages, alleging that
  defendant failed to equip the racetrack facility with an adequate fire extinguishing system. The court granted
  in part and denied in part defendant's motion for summary judgment, holding that the release plaintiff ex-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 42 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 14
Restatement (Second) of Contracts § 195 (1981)




  ecuted prior to driving his car on the track, discharging defendant from all potential negligence liability, was
  enforceable as a matter of law and barred plaintiff's negligence claim but did not prevent plaintiff from main-
  taining his claims for breach of contract, misrepresentation, and fraud. Cadek v. Great Lakes Dragaway, Inc.,
  843 F.Supp. 420, 422, 423.

    D.Kan.1995. Cit. in headnote, subsec. (1) cit. in sup. Race car driver who was severely burned when his car
  caught fire during practice lap sued race track owner, among others, alleging defendants' negligence, gross
  negligence, and reckless and wanton conduct. Both parties moved for summary judgment; defendants conten-
  ded that the release plaintiff signed absolved them from liability while plaintiff insisted the release was void
  as against public policy. Granting in part and denying in part the motions, the court held that the release was
  void to the extent it purported to relieve defendants of liability beyond ordinary negligence, but that the re-
  mainder of the document was enforceable. The court explained that the invalidity of certain terms did not
  render the entire release unenforceable. Wolfgang v. Mid-American Motorsports, Inc., 898 F.Supp. 783, 784,
  788.

    M.D.Tenn.Bkrtcy.Ct.1995. Adopted in case cit. in sup. Creditor filed nondischargeability petition against
  partnership based on one partner's alleged misrepresentations. This court dismissed silent partner on the
  ground that one partner's fraud could not be imputed to the other for purposes of 11 U.S.C. § 523(a)(2)(A) and
  held the other partner liable. The intermediate appellate court reversed as to silent partner, and, on remand,
  creditor moved for summary judgment as to the damages it claimed from him, offering an accounting in the
  amount of $5 million. The court granted creditor's motion, but held that silent partner was entitled to present
  defenses to the imputation of his partner's wrongdoing. It rejected silent partner's argument that liability was
  necessarily limited to his $1.1 million personal guaranty, explaining that he could not limit his tort liability for
  harm caused by his intentional or reckless misconduct. In re Sikes, 184 B.R. 742, 747.

    D.Vt.1994. Subsec. (2)(b) cit. in headnote and cit. in case cit. in disc. Skier who sustained injuries when she
  fell while skiing and her ski bindings did not release sued ski resort for the negligence of its employees in
  fastening and adjusting her rented ski boots. Granting defendant's motion for summary judgment, the court
  held, inter alia, that plaintiff was bound by the terms of a release she signed, since the release clearly and un-
  ambiguously demonstrated an intent to absolve defendant of liability for plaintiff's injuries and a ski resort
  was not the type of public service that would justify application of public policy to relieve plaintiff of the
  terms of the release. Szczotka v. Snowridge, Inc., 869 F.Supp. 247, 248, 250.

    Cal.App.1993. Subsec. (3) cit. but dist. After a man's wife died in a two-car automobile accident, the man
  settled with the driver of the other car and signed a release form releasing “all other persons, firms, and cor-
  porations.” Subsequently, the man retained a new attorney and filed a wrongful death and products liability
  claim against the manufacturer of the wife's car. Trial court denied summary judgment to manufacturer, hold-
  ing that the general release form did not release the manufacturer because the form did not specifically identi-
  fy the manufacturer. This court granted manufacturer's petition for writ of mandamus directing the trial court
  to set aside its order, holding that the general release operated to release the manufacturer even though manu-
  facturer was not specifically named. The court noted that the release at issue was not against public policy be-
  cause it did not involve a contract term that exempted a seller of a product from liability for harm to a user or
  consumer. GMC v. Superior Court (Ticich), 12 Cal.App.4th 435, 15 Cal.Rptr.2d 622, 628.

    Ill.1994. Com. (b) cit. in sup. Employee sued employer for retaliatory discharge after he was fired as a res-
  ult of his filing for workers' compensation. Employer thereafter sought a declaratory judgment that its three




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 43 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 15
Restatement (Second) of Contracts § 195 (1981)




  insurers were required to defend and indemnify it against the retaliatory discharge action. The trial court gran-
  ted insurers summary judgment, finding no insurance coverage and, therefore, no duty to defend. Intermediate
  appellate court reversed in part, holding that one insurer's policy potentially covered the tort of retaliatory dis-
  charge. Affirming, this court held that insurer breached its duty to defend because the retaliatory discharge ac-
  tion potentially fell within the policy's coverage. The court determined that interpreting the policy as provid-
  ing coverage against retaliatory discharge claims did not violate any established public policy of Illinois, since
  it was permissible to provide insurance coverage against liability for injuries resulting from intentional acts.
  Dixon Distributing v. Hanover Ins., 161 Ill.2d 433, 204 Ill.Dec. 171, 177, 641 N.E.2d 395, 401.

     Md.1994. Subsec. (1) cit. in sup., com. (a) quot. in sup. An investor who had suffered substantial losses
  sued her stockbroker and his investment firm, who invoked an exculpatory clause in the parties' investment
  contract in defense. This court affirmed the trial court's grant of defendants' motion for summary judgment,
  holding that the exculpatory clause, which exonerated the broker and firm from “any liability” for losses sus-
  tained in trading in securities except those losses that resulted from gross negligence or willful misconduct on
  the part of the broker or the firm, was valid and enforceable. There was no evidence of fraud, willful miscon-
  duct, or gross negligence in this case, as investor conceded that stockbroker never lied to her or made any mis-
  representations to her. Wolf v. Ford, 335 Md. 525, 531, 644 A.2d 522, 525.

     Mo.App.1991. Com. (a) cit. but dist. Alleging trespass on leased farmland that destroyed a significant por-
  tion of his wheat crop, a tenant sued his landlord for actual and punitive damages. The trial court entered judg-
  ment on a jury verdict for the tenant. Reversing and remanding, this court held, inter alia, that the lease limited
  the tenant's right to sue the landlord to an action for contractual damages only. The court stated that because
  the tenant knew what damage the landlord had caused and had decided on the cost of destroyed crops as an
  appropriate liability for the landlord, this contractual limitation in the lease exempting the landlord from tort
  liability should not be voided as against public policy. Davis v. Jefferson Sav. & Loan Ass'n, 820 S.W.2d 549,
  554.

    N.M.App.1992. Subsec. (1) cit. in sup. Polygraph examinee who was fired as a result of the test results sued
  the polygraph examiner's employer, among others, for compensatory and punitive damages on the ground that
  the test was conducted improperly and that defendant knew this and refused to contact plaintiff's employer to
  retract the results. Affirming in part the trial court's judgment for plaintiff, this court held that the release
  plaintiff signed was invalid because it released defendant from liability for willful or reckless misconduct. The
  court also stated that, because defendant's ratification of the examiner's negligence by refusing to retract the
  test results was in wanton disregard of plaintiff's interest, defendant could not rely on the release even if the
  examiner's error was only simple negligence. Conant v. Rodriguez, 113 N.M. 513, 828 P.2d 425, 428.

    N.Y.1992. Subsec. (1) cit. in sup. Skyscraper owner and tenants sued fire alarm company and others for
  over $7 million in damages after a dispatcher, mistakenly believing the building's system to be out of service,
  failed to report fire signals to the fire department. The trial court dismissed all claims based on exculpatory
  clauses in the alarm company's contract with the building owner; the appellate division reversed. Modifying
  and affirming the appellate division's judgment, this court held that, while the exculpatory clauses were en-
  forceable against claims of ordinary negligence, they could not restrict the alarm company's liability for
  grossly negligent or reckless conduct, and whether the company's conduct rose to the level of simple mistake
  or reckless indifference was a jury question. Sommer v. Federal Signal Corp., 79 N.Y.2d 540, 583 N.Y.S.2d
  957, 962, 593 N.E.2d 1365, 1371.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 44 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 16
Restatement (Second) of Contracts § 195 (1981)




     N.Y.1994. Subsec. (1) quot. in sup. Software buyer sued seller after seller discontinued performance under
  contract containing “willful acts” exception to provision limiting defendant's liability for consequential dam-
  ages. This court affirmed the appellate division's reduction of the trial court's entry of judgment on jury ver-
  dict for plaintiff, noting that, although the appellate division wrongly held that tort law principles always ap-
  plied in interpreting term “willful acts,” contract law led to same result. It said that plaintiff's proof that de-
  fendant's repudiation was motivated exclusively by economic self-interest in divesting itself of highly unprof-
  itable business to promote sale of its software division to competitor was insufficient to establish that it will-
  fully intended harm, and that consequential damages resulting from such nonperformance were risk plaintiff
  assumed. Metropolitan Life Ins. v. Noble Lowndes Intern., 84 N.Y.2d 430, 439, 618 N.Y.S.2d 882, 887, 643
  N.E.2d 504, 509.

     Ohio App.1989. Cit. in disc. After the plaintiff's decedent drowned during a canoeing trip sponsored by the
  defendant ski club, the plaintiff brought a wrongful death action charging negligence and failure to warn. The
  trial court granted the defendant summary judgment on the ground that the decedent had assumed the risk of
  the accident. Affirming, this court held that the plaintiff's claim was barred by the decedent's signing of a valid
  and enforceable indemnity contract that absolved the ski club of liability. Finkler v. Toledo Ski Club, 63 Ohio
  App.3d 11, 577 N.E.2d 1114, 1116, 1117.

     Or.App.1993. Cit. in diss. op., subsec. (3) cit. and quot. in diss. op., com. (c) cit. and quot. in diss. op. A
  house painter sued the company that rented him scaffolding after the scaffolding tipped over and he was in-
  jured. This court, reversing summary judgment for the rental company and remanding, held that disclaimers
  on the front and back of the rental contract were inconspicuous as a matter of law, so that they did not pre-
  clude the painter from recovering. The disclaimers were in small type and the impact of a boldface caption,
  “Warranty Disclaimer,” was minimized by adjacent captions printed in bold red capital letters. The dissent ar-
  gued that the disclaimers were conspicuous and should have been given effect. It also asserted that, despite the
  strong public policy concerns underlying strict liability, such as protecting consumers, the unambiguous limit-
  ation of liability clause effectively disclaimed defendant's strict liability in tort. Anderson v. Ashland Rental,
  Inc., 122 Or.App. 508, 514, 515, 516, 858 P.2d 470, 473, 474.

     Or.App.1993. Subsec. (2)(a) cit. in disc. County employee injured when struck by a dragster while working
  at a county facility where drag races were being held sued driver and association that sponsored the event. Af-
  firming the trial court's granting of summary judgment for defendants, this court held that county's require-
  ment that employee sign a release and waiver in order to continue his employment did not place employee at
  such an unfair disadvantage as to violate public policy. The court noted that employee's job at the drag strip
  was not his primary means of livelihood and that he apparently chose to work there because he was an avid ra-
  cing hobbyist. Finch v. Andrews, 124 Or.App. 558, 560, 863 P.2d 496, 497.

     Pa.1993. Coms. (a) and (b) cit. in case quot. in ftn. to diss. op. Commercial lessees who leased the first floor
  of lessor's multi-story building sued lessor for water damages sustained to its stored inventory, after a toilet
  located in a second-floor apartment developed a leak. Lessees alleged several claims including breach of im-
  plied warranty for commercial premises and negligence. Trial court granted summary judgment to lessor, de-
  termining that an exculpatory clause in the lease prevented any action against lessor on account of water dam-
  age caused by any broken plumbing fixture. Appellate court reversed, holding that exculpatory clause was not
  specific enough to immunize lessor from liability for negligence. Reversing and reinstating trial court's order,
  this court held that exculpatory clause was valid and enforceable because lessees' waiver of lessor's responsib-
  ility for losses resulting from negligence was plainly expressed. Dissent argued that clause's language reliev-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 45 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 17
Restatement (Second) of Contracts § 195 (1981)




  ing lessor of “any and all liability” were words of general import and were not broad enough to cover liability
  for negligence. Topp Copy Products, Inc. v. Singletary, 533 Pa. 468, 626 A.2d 98, 102.

     Pa.Super.1991. Coms. (a) and (b) cit. in disc. A commercial tenant sued its landlord for property damage
  caused by water leaking from broken plumbing on the floor above, basing its claim on breach of implied war-
  ranty of habitability and negligence. The trial court granted the defendant summary judgment, finding that an
  exculpatory clause in the lease stated that the plaintiff released the defendant from “any and all liability” for
  water damage. Reversing and remanding for further proceedings, this court held that an exculpatory clause im-
  munizing a landlord from liability for his own negligence must not be enforced absent unequivocal language
  showing the parties' intent; because the clause at issue used only words of general import, it could not be con-
  strued to immunize the defendant from liability due to the defendant's own negligence. The court never ad-
  dressed the plaintiff's argument for recognizing an implied warranty of habitability in commercial leases.
  Topp Copy Products Inc. v. Singletary, 404 Pa.Super. 459, 591 A.2d 298, 301, reversed 533 Pa. 468, 626 A.2d
  98 (1993). See above case.

    S.D.1994. Cit. in spec. conc. op., subsec. (2)(b) quot. in spec. conc. op. Injured softball player brought an
  action for negligence against softball association and city that leased field to association for the purpose of op-
  erating a city softball league. Reversing the trial court's grant of summary judgment for defendants and re-
  manding, this court held, inter alia, that a genuine issue of material fact existed as to whether plaintiff was
  aware she was signing a release and releasing defendants from liability for injuries she sustained as a result of
  her participation in the softball activity. The specially concurring opinion argued that an anticipatory exculpat-
  ory agreement releasing a city of all liability for negligence in the maintenance of public athletic fields should
  be unenforceable on public policy grounds. Johnson v. Rapid City Softball Ass'n, 514 N.W.2d 693, 702, 703.

     Tex.App.1992. Quot. but dist. City police department fired officer from her job but agreed to limit future
  employer's access to information concerning her performance. At new job interview, officer signed a release
  allowing potential employer to access any past records. City provided all records of her performance, and of-
  ficer sued city for defamation. The trial court awarded plaintiff damages, but this court reversed and rendered
  judgment that plaintiff take nothing, holding that release constituted consent to publication of potentially de-
  famatory matters. It noted that city provided employment related information only, as described in the release.
  The court distinguished a case holding that a racetrack spectator could not waive right to sue for damages
  caused by gross negligence. Smith v. Holley, 827 S.W.2d 433, 438.

     Tex.App.1994. Cit. in case quot. in sup., cit. in case quot. in conc. and diss. op. After a woman died while
  taking a scuba certification course, her family sued the diving instruction company and its president for
  wrongful death. Prior to taking the first class, the woman had signed an affirmation and liability release. Trial
  court granted defendants summary judgment. Affirming in part, reversing in part, and remanding, this court
  held, inter alia, that defendants satisfied their burden of proving that the preinjury release absolved them from
  liability resulting from their negligence, and that in this case negligence and gross negligence were not separ-
  able. Concurring and dissenting opinion argued that the release signed by the woman did not waive gross neg-
  ligence. Newman v. Tropical Visions, Inc., 891 S.W.2d 713, 720-721, 723.

     Wash.1996. Cit. and quot. in conc. op., subsec. (1) cit. in ftn. to conc. op. Participant in high-altitude
  breathing research expedition to Nepal sued expedition leader for, inter alia, negligence, alleging that she sus-
  tained permanent brain damage as a result of defendant's failure to have her descend once she began showing
  symptoms of altitude sickness. The trial court granted defendant's motion for summary judgment, concluding




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 46 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 18
Restatement (Second) of Contracts § 195 (1981)




  that plaintiff's signed preinjury release form precluded a negligence claim. The intermediate appellate court
  affirmed, finding that the project was essentially a trek and the breathing experiment was merely incidental.
  Reversing and remanding, this court held that preinjury releases in the context of medical experimentation
  were unenforceable as against public policy, and that material factual issues existed as to whether this project
  was primarily recreational or for purposes of medical research. Concurrence believed that a preinjury release
  form was enforceable if the bargaining process was fair and the substance of the agreement, as judged by the
  standards set forth in s 195 of the Restatement (Second) of Contracts, consistent with public policy. Vodopest
  v. MacGregor, 128 Wash.2d 840, 913 P.2d 779, 792, 793.

    W.Va.1991. Subsec. (1) and Rptr's Note cit. in ftn., subsecs. (2)(b) and (2)(c) and com. (a) cit. in disc. A
  woman who was injured while participating in a commercial whitewater rafting expedition sued the licensed
  whitewater outfitter operating the raft, alleging negligence and recklessness. The trial court awarded the de-
  fendant summary judgment, holding that the plaintiff's action was barred by an exculpatory release she signed
  before the accident, relieving the defendant of all tort liability. Reversing and remanding, this court held that
  an issue of fact existed as to whether the defendant's raft guide had failed to conform to a statutorily mandated
  standard of care. The court stated that the exculpatory clause should not be construed to exempt the defendant
  from liability for reckless behavior. Murphy v. North American River Runners, 186 W.Va. 310, 412 S.E.2d
  504, 509, 510.

    W.Va.1994. Subsecs. (2)(b)-(2)(c) cit. in case quot. in sup. University student injured while playing rugby
  sued university, among others, for his injuries. Reversing and remanding the trial court's granting of defend-
  ants' motion for summary judgment, this court held that, when university provided recreational activities to its
  students, it fulfilled its educational mission and performed public service; therefore, release signed by plaintiff
  violated public interest when university had decisive bargaining strength over plaintiff, since plaintiff had no
  choice but to sign it if he wished to play university rugby. Kyriazis v. University of West Virginia, 192 W.Va.
  60, 450 S.E.2d 649, 654.

    Wis.1991. Quot. in disc., cit. in case cit. in disc. The widow of a participant killed during a water ski show
  sued the ski club and other club members for negligence and the wrongful death of her husband. In motions
  for summary judgment, the defendants asserted that the participant signed an exculpatory contract that re-
  leased them from liability, and the plaintiff asserted that the exculpatory contract was invalid on public policy
  grounds. The trial court denied both motions. The intermediate appellate court reversed in part, holding that
  the exculpatory contract was enforceable and not contrary to public policy. Reversing the appellate court de-
  cision and remanding, this court held that, although the contract was not void on public policy grounds, it was
  unenforceable because of vagueness and ambiguity regarding the event to which the contract pertained. In its
  public policy analysis, the court noted that none of the pertinent situations listed in this Restatement section
  were present in this case. Dobratz v. Thomson, 161 Wis.2d 502, 468 N.W.2d 654, 658-659, 660.

     Wis.1994. Cit. in diss. op., com. (b) cit. in diss. op. Truck driver's wife sued his employer after she was in-
  jured in an accident while riding in the truck as a passenger. Intermediate appellate court affirmed trial court's
  entry of summary judgment for employer. This court reversed and remanded, holding that an exculpatory con-
  tract between wife and employer waiving employer's liability toward passengers in the company truck was
  void as being against public policy. A dissent argued that the release served acceptably identified purposes,
  was not overbroad, and was not void simply because it was standardized and offered to wife on a take-
  it-or-leave-it basis. Dissent stated that there was no authority that a standardized form was inherently or even
  presumptively invalid, and that there were no cases cited suggesting that the mere fact that the parties to a




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 47 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 19
Restatement (Second) of Contracts § 195 (1981)




  contract possess unequal bargaining strength means that no exculpatory clauses or releases are permissible.
  Richards v. Richards, 181 Wis.2d 1007, 513 N.W.2d 118, 129, 130.

     Wis.App.1993. Quot. in part in sup., subsec. (2)(c) cit. in sup. and quot. in ftn. in sup., subsec. (3) cit. in
  sup. A volunteer flagging and communications crew worker at a racetrack sued the driver, driver's pit crew,
  track owner, racing clubs, and the manufacturer and distributor of the race car that went out of control and
  struck and injured her, asserting various claims despite having signed a standard form exculpatory contract be-
  fore she was injured. Affirming the trial court's dismissal, this court held, inter alia, that, as the worker did not
  receive wages or monetary gain, she was not a common-law employee entitled to void the release as being
  against the public policy of not exempting employers from liability for injuries to employees in the course of
  their employment. Further, said the court, she was not an employee or frequenter entitled to protection under
  the safe place statute. Kellar v. Lloyd, 180 Wis.2d 162, 509 N.W.2d 87, 93, 94.

    Wis.App.1995. Cit. in disc., cit. in ftn., cit. generally in ftn., subsec. (2)(c) cit. in disc. and in ftn., com. (a)
  quot. in sup. Parents of young skier who was killed when she collided with the concrete base of a ski lift tower
  brought wrongful death action against ski resort. Resort moved for summary judgment, citing an exculpatory
  clause relieving it from liability for damages associated with certain inherent risks in skiing and contained in
  the season pass signed by decedent's father. The trial court granted the motion and this court affirmed, holding
  that the exculpatory clause did not violate public policy by directly contravening Wisconsin's safe-place stat-
  ute because, even if the statute applied, resort clearly bargained for an exclusion. The court explained that in
  exchange for a discount on their skiing, plaintiffs gave up the right to bring claims arising out of accidents
  such as the one that occurred here; consideration for the deal was sufficient, and there was no overreaching by
  resort. Yauger v. Skiing Enterprises, Inc., 196 Wis.2d 485, 538 N.W.2d 834, 837, 838.

                               — June 2001:Case Citations July 1996 — June 2001:


     D.Conn.1997. Cit. in headnote, com. (b) cit. in disc., cit. in case cit. in disc. Furrier lost 66 furs when
  thieves entered an adjacent abandoned building and broke through the common wall separating the two
  premises; furrier's subrogee brought breach of contract and negligent misrepresentation action against alarm
  company that installed furrier's security system. Subrogee also sued furrier's landlord for negligence, alleging
  that landlord did not properly secure the adjoining vacant building. Company and landlord moved for sum-
  mary judgment. Granting company's motion and denying that of landlord, the court held that, while an exculp-
  atory clause in company's alarm system contract was enforceable, a similar provision in furrier's lease with
  landlord was invalid to the extent it could be read as an attempt by landlord to exempt itself from liability for
  gross negligence, recklessness, or intentional conduct. The court disagreed with a magistrate judge's determin-
  ation that material factual issues existed as to whether company negligently misrepresented that infrared de-
  tectors would activate if furs were removed from their bins, and, if so, whether the exculpatory clause was
  voided as a result. Western Alliance v. Wells Fargo Alarm Services, 965 F.Supp. 271, 271, 279.

     S.D.Ohio, 1997. Cit. in headnote, cit. in disc. A patentee brought, in part, an action for breach of contract
  against an automobile manufacturer, alleging that defendant's wrongful use of plaintiff's intellectual property
  in the design and development of an integrated child safety seat built into defendant's vehicles breached the
  terms of the parties' disclosure agreement. Granting defendant's motion for summary judgment, the court held,
  inter alia, that the agreement limited plaintiff's claims against defendant to those resulting from patent, copy-
  right, or trademark infringement. The court noted that, while the agreement contained exculpatory language




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 48 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 20
Restatement (Second) of Contracts § 195 (1981)




  that was not necessarily favored in the law, it protected any valid patent, copyright, or trademark held by
  plaintiff. Hassell v. Chrysler Corp., 982 F.Supp. 515, 516, 528.

     W.D.Wis.1998. Cit. in headnote, com. (1) cit. in case cit. in disc. Participant in tractor pull brought personal
  injury action against organization that sanctioned an event at which he was hurt. Entering summary judgment
  for defendant, the court held, in part, that an exculpatory contract signed by plaintiff was valid and enforce-
  able, and that, even if the court were to accept and follow the rule that exculpatory contracts did not absolve
  reckless conduct, plaintiff had failed to set forth any evidence tending to show that defendant acted in a man-
  ner so unreasonably dangerous that it knew or should have known that harm was highly probable. Rose v. Na-
  tional Tractor Pullers Ass'n, Inc., 33 F.Supp.2d 757, 758, 766.

    Conn.App.1998. Com. (b) cit. in case quot. in sup. After plaintiffs discovered that the house they had pur-
  chased was infested with termites, they sued home inspection company for negligent performance of a prepur-
  chase property inspection contract. The trial court entered judgment for plaintiffs and awarded them damages.
  Affirming, this court held, inter alia, that a contractual clause limiting defendant's damages to the amount of
  the inspection fee was not an enforceable disclaimer of liability for negligence. The court said that the law did
  not favor contract provisions relieving a person from his own negligence. Mattegat v. Klopfenstein, 50
  Conn.App. 97, 103, 717 A.2d 276, 280.

    Hawaii, 2001. Com. (a) cit. generally in ftn. Limited partners, as investors in limited partnerships that were
  purportedly formed to purchase and develop a parcel of land, sued general partners for breach of contract,
  fraud, and deceptive trade practices. Trial court granted general partners summary judgment and assessed
  sanctions against limited partners' attorney. This court vacated and remanded, holding, inter alia, that to the
  extent that plaintiffs' limited-partnership agreements were tainted by fraud, general partners could not rely on
  the exculpatory clause contained therein. Insofar as exculpatory clause purported to relieve general partners
  from vicarious liability, it conflicted with the Uniform Partnership Act, and the statute took precedence over
  the contract terms. Fujimoto v. Au, 95 Hawai'i 116, 19 P.3d 699, 738.

    Md.1996. Subsec. (1) cit. in case cit. in disc. Sellers allowed their realtor to place a lock-box containing a
  key to their house on their home in order to facilitate its showing; they sought damages from realtor after a
  thief called realtor's office, obtained the combination to the lock-box, entered sellers' home, and removed
  $40,000 worth of jewelry. The trial court entered judgment on a jury verdict for sellers, but the intermediate
  appellate court reversed, having determined that an exculpatory clause in the parties' lock-box authorization
  was valid and enforceable. Reversing and remanding, this court held that, while exculpatory clauses were gen-
  erally enforceable, the evidence here did not indicate that sellers intended to release realtor from liability for
  damages stemming from his own negligence. Adloo v. H.T. Brown, 344 Md. 254, 686 A.2d 298, 301.

    Mass.App.1997. Quot. in ftn., coms. (a) and (b) cit. in disc. A participant in a motorcycle dirt bike race
  sued the race track owner, alleging negligence in failing to provide suitable flag holders to protect the parti-
  cipants from accidents and gross negligence in providing incompetent minor children to act as flagmen. Trial
  court granted defendant summary judgment, holding that plaintiff would not be able to prove that defendant
  was grossly negligent. This court affirmed in part, reversed in part, and remanded, holding, inter alia, that a re-
  leased signed by plaintiff as a condition of participating in the race did not exempt defendant from liability for
  grossly negligent conduct. Zavras v. Capeway Rovers Motorcycle Club, 44 Mass.App.Ct. 17, 687 N.E.2d
  1263, 1265.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 49 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 21
Restatement (Second) of Contracts § 195 (1981)




    N.D.1999. Cit. in disc. Member of university hockey team sustained kidney and liver damage as a result of
  the severe dehydration he suffered while participating in a preseason conditioning road race; he sued uni-
  versity and race sponsor for, inter alia, negligence and concert of action. The trial court dismissed the com-
  plaint. Affirming, this court held, in part, that the release plaintiff signed, which purported to exonerate spon-
  sor from liability for injuries incurred by runners, was not against public policy for lack of equal bargaining
  power, and that plaintiff's “concert of action” claim failed because there was no evidence that defendants
  worked together to organize and supervise hockey team's participation in the race, or of a common design or
  plan. Reed v. University of North Dakota, 1999 ND 25, 589 N.W.2d 880, 887.

     Or.App.1997. Subsec. (1) quot. in ftn. A holder of a season pass at a ski resort brought a negligence action
  against the limited partnership that owned the resort and its general partner to recover damages for injuries she
  allegedly sustained while attempting to board a chair lift. Affirming the trial court's grant of summary judg-
  ment for defendants, this court held, inter alia, that enforcement against plaintiff of the release provisions of
  the season pass application in the circumstances of this case would not offend Oregon's public policy, despite
  plaintiff's contention that the provisions impermissibly attempted to relieve defendants of liability for more
  than ordinary negligence. The court said that a party seeking to avoid contractual responsibility must show
  that enforcement of the contractual provision, as applied to him or her, would offend public policy, regardless
  of whether enforcement of the same provision against other parties in other circumstances would violate pub-
  lic policy. Harmon v. Mt. Hood Meadows, Ltd., 146 Or.App. 215, 222, 932 P.2d 92, 96.

    Tex.App.1999. Cit. in disc. After being rejected as unqualified for project to improve municipal high
  school, lowest bidder brought tort action against architectural firm that served as school district's agent. Spe-
  cifically, plaintiff alleged tortious interference with business relations, negligence, business disparagement,
  and defamation. The trial court entered summary judgment for defendant. Affirming, this court held that,
  when it submitted its bid form, plaintiff simultaneously executed a waiver releasing both district and defend-
  ant from liability for existing and future claims; that the waiver was valid and did not offend public policy;
  and that plaintiff's participation in the bidding process effectively served as consent. Sedona Contracting v.
  Ford, Powell & Carson, 995 S.W.2d 192, 196, 199.

     Utah, 1996. Cit. in headnotes, subsec. (3) quot. in part in disc., com. (b) cit. in disc. Owner of wastewater
  treatment facility withheld payment from its contractor when a fiberglass storage tank became overfilled and
  burst. Contractor then sued the subcontractor responsible for retaining the company that supplied the tank,
  subcontractor filed a third-party complaint against tank supplier, and supplier filed a third-party complaint
  against owner. Owner counterclaimed against all three plaintiffs, alleging, inter alia, breach of contract and
  negligence. The trial court determined that the case was controlled entirely by the contract, ordered owner to
  make the required payment, and entered judgment accordingly. The intermediate appellate court affirmed. Af-
  firming, this court held, in part, that, to the extent owner's tort claims alleged strict liability and breach of a
  duty, independent of the construction contract, to provide services, they were not precluded by the existence
  of the contract, but that owner failed to prove that a breach on the part of contractor, subcontractor, or supplier
  was the proximate cause of the harm. Interwest Constr. v. Palmer, 923 P.2d 1350, 1351, 1356.

    Wyo.1999. Cit. in headnote, quot. in sup., subsec. (1) cit. in sup. and adopted, com. (a) quot. in disc. Em-
  ployer sued former employee for breach of fiduciary duty and intentional interference with known economic
  advantage after defendant resigned from plaintiff's employ and started a competing business. The trial court
  entered summary judgment for defendant, concluding that the employment contract provided plaintiff's ex-
  clusive remedy. Reversing and remanding, this court held, in part, that the exclusive-remedy provision of the




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 50 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 22
Restatement (Second) of Contracts § 195 (1981)




  employment agreement, which purported to exempt defendant from liability for intentional torts, was unen-
  forceable as a matter of public policy. Fremont Homes, Inc. v. Elmer, 974 P.2d 952, 953, 956-957.

                              — June 2006:Case Citations July 2001 — June 2006:


    C.A.2, 2003. Cit. in ftn. (Erron. cit. as Restatement Second of Torts.) Criminal defendant appealed his con-
  viction for conspiring to hold hostage aliens who were smuggled into the United States and holding hostage a
  female alien. This court affirmed the conviction, holding, inter alia, that the district court's jury instruction
  was proper as it did not prohibit the jury from considering the smuggling agreements and/or from finding that
  the aliens consented to be detained through those agreements. The court noted that because alien-smuggling
  agreements were illegal and unenforceable, where a defendant caused an alien to remain in one location
  against her will when she would have preferred to be elsewhere, that defendant could not insulate himself
  from criminal liability by relying on an illegal, unenforceable agreement to furnish the alien's consent. U.S. v.
  Tian, 339 F.3d 143, 156.

     D.D.C.2005. Subsec. (1) cit. and quot. in sup. Game-show contestant sued entertainment company for, in
  part, reckless and intentional conduct causing injuries allegedly due to actions of show's host during taping.
  Denying in part defendant's motion for summary judgment, this court held, inter alia, that such claims could
  not be waived by the release form signed by plaintiff pursuant to applicable District of Columbia law. Al-
  though District of Columbia law recognized a prospective liability waiver for claims of negligent conduct, for
  claims arising from reckless or intentional conduct the case law was silent, so the Restatement approach was
  adopted; under the Restatement, such waivers were not recognized to exempt a party from recklessly or inten-
  tionally caused harms. Wright v. Sony Pictures Entertainment, Inc., 394 F.Supp.2d 27, 33.

     D.Kan.2005. Cit. in sup., subsec. (1) cit. in ftn. Sales agent sued communications company after company
  terminated it as agent, asserting claims for, in part, breach of contract and tortious interference with prospect-
  ive business advantage. Granting company's motion to dismiss for lack of subject-matter jurisdiction, this
  court held, inter alia, that limitation-of-liability provision was valid and enforceable against agent's breach-
  of-contract claim, and, therefore, that claim did not meet required amount for exercise of diversity jurisdic-
  tion. The court noted that, while the limitation-of-liability provision generally was unenforceable as to inten-
  tional torts, like agent's tortious-interference claim, that claim failed to establish subject-matter jurisdiction
  because agent did not provide the court with a damages estimate on the claim. LDCircuit, LLC v. Sprint Com-
  munications Co., L.P., 364 F.Supp.2d 1246, 1258, 1263.

     D.Md.2004. Subsec. (1) cit. in disc. Chapter 7 debtor brought adversary complaint against bankruptcy-peti-
  tion preparers for various claims, including negligence. Denying petition preparers' motion to dismiss, this
  court held, inter alia, that exculpatory clauses in prepetition contract between debtor and petition preparers
  were too broadly worded, were unenforceable as against public interest, and failed to exculpate the petition
  preparers from their own negligence. In re Lucas, 312 B.R. 559, 565.

     S.D.N.Y.2003. Com. (a) cit. in sup. (Erron. cit. as Restatement Third of Contracts). Subrogee insurers
  brought subrogation action against insured's landlord, alleging that insured suffered property damage due to
  landlord's inadequate maintenance of the leased premises. This court granted defendant's motion to dismiss,
  but it gave insurers leave to amend their complaint to add a claim of gross negligence. The court stated that
  claims of gross negligence could not be precluded under an exculpatory clause nor diminished under a liabil-
  ity-limiting clause. It noted that the risk of harm to the public increased when contracting parties exempted




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 51 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 23
Restatement (Second) of Contracts § 195 (1981)




  themselves from liability for their intentional or reckless conduct. American Motorist Ins. Co. v. Morris Gold-
  man Real Estate Corp., 277 F.Supp.2d 304, 307.

     S.D.W.Va.2004. Subsecs. (2)(b)-(2)(c) cit. in case quot. in disc. Mother of 14–year-old girl who died while
  participating in church-sponsored rafting trip brought action against rafting company and its employee who pi-
  loted girl's raft, alleging that their conduct was proximate cause of her death. Rafting company subsequently
  filed a third-party complaint against church and pastor who let youth group, based on pastor's signature, pur-
  portedly on behalf of mother, on indemnification and release. This court granted summary judgment to church
  and pastor, finding, inter alia, that parent of a minor child could not indemnify third party for liability for con-
  duct that violated a safety statute. Johnson v. New River Scenic Whitewater Tours, Inc., 313 F.Supp.2d 621,
  631.

     Cal.App.2003. Cit. generally in dist. Child and parents sued child-care provider following incident in-
  volving sexual touching between plaintiff child and another child in day-care program. Trial court found that
  release signed by parents barred negligence and contract claims against provider and entered judgment on jury
  verdict for provider on fraud claims. Reversing and remanding, this court held that an agreement exculpating
  child-care provider's from its own negligence was void as against public policy. Gavin v. YMCA of Metropol-
  itan Los Angeles, 106 Cal.App.4th 662, 669, 131 Cal.Rptr.2d 168, 173.

    Conn.2003. Com. (b) quot. in disc. Ski-resort patron who was injured while snowtubing sued resort owner
  for negligence. Reversing the trial court's grant of summary judgment for defendant and remanding, this court
  held that a release signed by plaintiff did not bar her claim because it did not expressly provide that, by sign-
  ing it, plaintiff released defendant from liability for damages resulting from its negligence. Hyson v. White
  Water Mountain Resorts of Connecticut, Inc., 265 Conn. 636, 642, 829 A.2d 827, 831.

    Conn.2005. Quot. in ftn. to diss. op. Patron of ski resort who was injured while snow tubing at resort sued
  operators of the facility for negligence. The trial court granted summary judgment for defendants on grounds
  that plaintiff had signed an agreement that released defendants from liability for their allegedly negligent con-
  duct. Reversing, this court held, inter alia, that the release was unenforceable on public policy grounds. The
  dissent argued that the release was enforceable because snow tubing was a voluntary recreational activity and
  participants in such a recreational activity had the ability to weigh their desire to participate against their will-
  ingness to sign a contract containing an exculpatory clause. Hanks v. Powder Ridge Restaurant Corp., 276
  Conn. 314, 347, 885 A.2d 734, 753.

     Del.Ch.2006. Quot. in disc., cit. in sup., cit. in ftn., Rptr's Notes cit. in ftn. Private equity firm that bought a
  publishing company's stock sued private equity firm that sold the shares from its portfolio, seeking to rescind
  the contract based on the falsity of representations in the stock-purchase agreement. Granting in part and
  denying in part defendant's motion to dismiss, this court held that although the plain terms of the agreement's
  exclusive-remedy provision would limit plaintiff's remedy for its fraudulent-misrepresentation claim to a
  capped indemnity claim for damages, and would bar its claim for rescission, public policy invalidated the pro-
  vision, so as to allow plaintiff to press its rescission claim, insofar as plaintiff proved that defendant intention-
  ally misrepresented a fact within the agreement or knew that the publishing company had misrepresented such
  a fact. Abry Partners V, L.P. v. F & W Acquisition LLC, 891 A.2d 1032, 1059, 1060, 1063.

    Ky.2005. Com. (a) cit. in disc. Widow of independent log hauler who was killed while unloading logs sued
  lumber-yard owner that had contracted for hauler's services, alleging failure to comply with safety regulations.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 52 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 24
Restatement (Second) of Contracts § 195 (1981)




  The trial court granted summary judgment for owner; the court of appeals affirmed. Reversing and remanding,
  this court held, inter alia, that, although not invalid per se, the exculpatory contract here did not exempt owner
  from liability for hauler's death. Because exculpatory contracts were disfavored and strictly construed against
  party relying on them, here, where the contract did not clearly set out what liability was covered, there was no
  reason to believe that hauler's death was specifically within its contemplation, as required for exemption from
  liability. Hargis v. Baize, 168 S.W.3d 36, 47.

    Me.2005. Subsec. (1) cit. in disc. After church was destroyed by fire during renovations, church's insurers
  brought subrogation action against contractor whose employee caused the fire, seeking to recover damages.
  Trial court granted summary judgment for contractor, finding that waiver of subrogation in church's agree-
  ment with contractor barred insurers' claims. Affirming, this court held, inter alia, that even in the face of
  claims of gross negligence or willful and wanton misconduct, waiver of subrogation was not void as against
  public policy because there was no risk that an injured party would be left uncompensated. Reliance National
  Indemnity v. Knowles Industrial Services, Corp., 868 A.2d 220, 226.

     Mass.2002. Subsec. (1) quot. in ftn. Student cheerleader injured during practice at public school sued city,
  alleging negligence and negligent hiring and retention of cheerleading coach. The trial court granted city leave
  to amend answer to add release as affirmative defense, then granted city summary judgment. On its own mo-
  tion to transfer case from appellate court, this court held, inter alia, that enforcing release signed by parent on
  behalf of student was consistent with public policy of encouraging youth athletic programs. Sharon v. City of
  Newton, 437 Mass. 99, 110, 769 N.E.2d 738, 748.

    Minn.2005. Subsec. (2)(b) quot. in sup. Houseboat renters sued rental company for negligence, alleging that
  they suffered brain damage from carbon-monoxide exposure while vacationing in the houseboat. The trial
  court granted defendant summary judgment against the renter who signed rental agreement and ordered renter
  to indemnify defendant for remaining plaintiffs' claims pursuant to rental agreement's provisions. The court of
  appeals affirmed. This court reversed and remanded, holding that exculpatory and indemnification clauses in
  rental agreement were unenforceable on public-policy grounds. Defendant, as an innkeeper providing a public
  service, could not circumvent duty to protect guests by requiring them to sign rental agreement containing an
  exculpatory clause that purported to release defendant from liability for negligence. Yang v. Voyagaire
  Houseboats, Inc., 701 N.W.2d 783, 789.

     N.M.2003. Cit. in disc., subsec. (2) cit. in disc. Guest of a recreational resort facility who was injured while
  participating in a guided horseback trail ride sued resort owner for negligence. Trial court granted defendant
  summary judgment holding that a liability release signed by plaintiff was enforceable; court of appeals court
  reversed, holding that release was invalid as a matter of law. This court reversed and remanded, holding that,
  although a broad rule invalidating all liability releases in recreational context was not warranted, the release in
  this case was contrary to public policy expressed in state Equine Liability Act. The court noted that the rule on
  liability releases followed by New Mexico courts thus far had tracked rule followed in majority of other
  courts, as well as the Restatement. Berlangieri v. Running Elk Corp., 134 N.M. 341, 76 P.3d 1098, 1104, 1107
  .

     N.M.App.2002. Subsecs. (2) and (3) and com. (a) quot. in diss. op. Guest who was injured while horseback
  riding sued lodge for negligence. Reversing the trial court's grant of summary judgment for defendant and re-
  manding, this court held, inter alia, that the release signed by plaintiff was unenforceable as against public
  policy. The dissent argued that the majority's holding that all releases in the commercial recreation industry




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 53 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 25
Restatement (Second) of Contracts § 195 (1981)




  were per se against public policy and unenforceable was overbroad, and that the enforceability of a release
  should be measured on a case-by-case basis considering the circumstances of the case as a whole. Berlangieri
  v. Running Elk Corp., 132 N.M. 332, 48 P.3d 70, 81.

     Utah, 2002. Cit. generally in ftn., subsec. (3) quot. in case quot. in disc., com. (c) cit. in disc. After estate of
  deceased worker brought a wrongful-death action on a theory of products liability against manufacturer of as-
  phalt silo components, manufacturer filed a third-party complaint against decedent's employer for indemnific-
  ation. The trial court granted manufacturer summary judgment on the indemnification claim, and apportioned
  the judgment. Reversing in part, this court rejected manufacturer's argument that the claim sounded in negli-
  gence and was covered by the equipment invoice's indemnification language. Bishop v. GenTec Inc., 48 P.3d
  218, 224.

    Wis.2005. Cit. in disc., quot. in ftn., subsec. (1) cit. in disc. Minor child filed suit against fitness center for
  wrongful death after his mother drowned while using center's pool. Trial court granted center's motion for
  summary judgment. Reversing and remanding, this court held, inter alia, that exculpatory language in guest
  registration and waiver form was overly broad and inclusive so as to render such language unenforceable, as it
  would include interpretation that was clearly contrary to public policy. Atkins v. Swimwest Family Fitness
  Center, 277 Wis.2d 303, 691 N.W.2d 334, 338, 340.

     Wis.App.2004. Cit. in cases cit. and quot. in ftn., subsec. (1) quot. in sup., com. (a) cit. in sup. Automobile-
  dealership owners, who had entered into asset-purchase agreement and leases with dealer development corpor-
  ation controlled by automobile manufacturer, brought action against corporation, manufacturer, and three dir-
  ectors, after corporation ceased doing business, transferred franchise rights to manufacturer for no value, and
  informed owners that it was insolvent and intended to default on all future obligations under leases. Holding
  that exculpatory language in the lease agreements precluded owners' action, the trial court dismissed claims.
  Reversing and remanding, this court held, inter alia, that the exculpatory clauses were unenforceable on
  grounds of public policy where the alleged harm was caused intentionally or recklessly. Finch v. Southside
  Lincoln–Mercury, Inc., 274 Wis.2d 719, 685 N.W.2d 154, 160, 163, 164.

                               — June 2010:Case Citations July 2006 — June 2010:


     C.A.6, 2006. Subsec. (2) cit. in case cit. in disc. In this case, where the court determined that the former em-
  ployees of a now-defunct company were entitled to the stock proceeds from an insurance firm's demutualiza-
  tion, the court cited to a number of Kentucky Supreme Court cases that applied various sections of the Re-
  statement Second of Contracts, including § 195, to demonstrate that the Restatement was generally valid au-
  thority in Kentucky. Bank of New York v. Janowick, 470 F.3d 264, 271, certiorari denied 552 U.S. 825, 128
  S.Ct. 195, 169 L.Ed.2d 36 (2007).

     D.Mass.Bkrtcy.Ct.2007. Cit. in disc. Administrator of estate of stabbing victim brought an adversary pro-
  ceeding against debtor, seeking a determination that a default judgment entered in plaintiff's wrongful-death
  action against debtor was excepted from discharge as a debt for willful and malicious injury by debtor. Grant-
  ing summary judgment for debtor, this court held that plaintiff was bound by the parties' prepetition agreement
  containing plaintiff's knowing and voluntary waiver and release of the right to prosecute this nondischargeab-
  ility complaint based on an intentional tort. The court noted that, although a term in a contract exempting a
  party from tort liability for harm caused intentionally or recklessly was unenforceable as against public policy,
  the prepetition agreement, contrary to plaintiff's argument, was not the product of a mistake of law, since it




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 54 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 26
Restatement (Second) of Contracts § 195 (1981)




  was made during litigation, was in the nature of an agreement for judgment, and was enforced by the trial
  court. In re Cunningham, 365 B.R. 352, 365.

    D.N.J.2006. Com. (a) cit. generally in defense motion. Engineering and construction company sued consult-
  ant after it became clear that consultant's expert had lied about his academic credentials, allegedly resulting in
  an award against company by an arbitration panel before which expert testified. The trial court entered a jury
  verdict in favor of company on its breach-of-contract and negligence claims. Denying consultant's motion to
  mold the verdict, this court held, inter alia, that the exculpatory clause in the parties' contract was unenforce-
  able under Maryland law where consultant's failure to provide company with a licensed engineer as an expert
  was a fundamental, pure breach of contract; no Maryland law was cited for the proposition that an exculpatory
  clause could operate to preclude liability for a contractual breach that went to the very essence of the contract
  between the parties. Wartsila NSD North America, Inc. v. Hill Intern., Inc., 436 F.Supp.2d 690, 695.

     S.D.N.Y.2008. Subsec. (1) cit. in case quot. in sup. Italian air carrier brought a diversity action against pub-
  lishing company for, among other claims, negligence and gross negligence, alleging that defendant posted air
  fares without noting that they were only available in a “low season,” and, by the time the mistake was correc-
  ted, tickets had been sold to the public at an alleged loss to plaintiff of over $3.7 million. Granting defendant's
  motion for summary judgment, this court held, inter alia, that, because plaintiff's claims for negligence and
  gross negligence sounded in contract, not tort, the limitation-of-liability provision in the contract between
  these sophisticated commercial entities precluded, under Virginia law, recovery of lost revenue and profits;
  even if New York law applied, the outcome would be the same, since no reasonable jury could conclude that
  defendant engaged in conduct akin to intentional wrongdoing or reckless indifference such that enforcement
  of the limitation-of-liability provision would be avoided. Alitalia Linee Aeree Italiane, S.p.A. v. Airline Tariff
  Pub. Co., 580 F.Supp.2d 285, 294.

     S.D.N.Y.2010. Cit. in case quot. in sup. and cit. in ftn. Cayman Islands special purpose entities (SPEs) cre-
  ated by bank solely on paper as vehicles for an investment in the Brazilian operations of failed Italian dairy
  conglomerate sued bank for, among other things, breach of certain management agreements, alleging that
  bank abandoned its due diligence obligations in managing the SPEs and failed to adequately advise the SPE
  boards that the Brazil stock was overvalued. This court dismissed the action, holding that the contract claim
  was without merit, in part because the agreements expressly limited bank's liability to “gross negligence or
  willful breach of duty,” and, while bank's failure to disclose material information to the SPEs was a breach of
  fiduciary duty, it did not “smack of intentional wrongdoing” as required by New York law to pierce such an
  agreed-upon limitation of liability in a commercial contract. In re Parmalat Securities Litigation, 684
  F.Supp.2d 453, 483.

    W.D.Va.2009. Subsec. (1) quot. in sup. and cit. in case cit. in sup. Seller of telecommunications products
  sued manufacturer for business conspiracy, inter alia, after defendant began working with one of plaintiff's
  competitors and unexpectedly terminated its contract with plaintiff. Denying in part defendant's motion to dis-
  miss, this court concluded that, even if the contractual limitation of liability provision in the parties' contract
  was intended to bar future claims for anything other than the payment of commissions due, the provision
  could not, as a matter of public policy, exempt defendant from liability for intentional, conspiratorial miscon-
  duct. All Business Solutions, Inc. v. NationsLine, Inc., 629 F.Supp.2d 553, 560.

   Ariz.App.2007. Cit. in sup. Aircraft owner sued maintenance and repair company for, in part, breach of a
  maintenance contract and fraud. The trial court granted defendant's motion for summary judgment in part, rul-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 55 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 27
Restatement (Second) of Contracts § 195 (1981)




  ing that plaintiff was barred from recovering lost profits under a limitation-of-damages clause contained in the
  contract. Reversing and remanding, this court, inter alia, adopted the rule that, while a party could contract to
  limit liability in damages for nonperformance of promises, such a provision was not effective where, as al-
  leged here, that party acted fraudulently or in bad faith. The court noted that the purpose of the rule was con-
  sistent with Restatement Second of Contracts § 195, which prohibited contracts exempting parties from inten-
  tional or reckless tort liability. Airfreight Exp. Ltd v. Evergreen Air Center, Inc., 215 Ariz. 103, 158 P.3d 232,
  240.

    Colo.App.2009. Cit. in sup., cit. in case cit. in sup., adopted in case cit. in sup., subsec. (1) cit. in sup. and
  quot. and adopted in case quot. in sup. After investment fund sued investor, seeking a declaration regarding
  the proper characterization of investor's financial contribution to fund, investor filed a third-party complaint
  against fund's manager, alleging conversion, civil theft, and securities fraud. Following a bench trial, the trial
  court found that manager was personally liable to investor for conversion and civil theft. Affirming, this court
  held, inter alia, that an exculpatory provision in the agreement between investor and fund was unenforceable
  to the extent that it purported to exempt manager from personal tort liability, because manager's actions were
  not merely negligent and of no benefit to fund, but intentional, unauthorized, and self-serving, and the provi-
  sion was of no practical benefit to investor. Rhino Fund, LLLP v. Hutchins, 215 P.3d 1186, 1191–1193.

    Conn.2006. Cit. in sup., subsec. (2)(a) quot. in ftn. Professional racing driver employed by racing school
  sued employer and others for negligence after being injured while performing job-related duties. The trial
  court granted summary judgment for defendants. Reversing and remanding, this court held, inter alia, that
  driver's negligence claims were not precluded by an exculpatory agreement signed by driver prospectively re-
  leasing employer and others from liability for negligent acts causing injury to driver, because the agreement
  violated the public policy of the state and was, therefore, invalid. The court noted the explanation given for
  this result in Restatement Second of Torts § 496B comment f, which pointed to the disparity in bargaining
  power between an employer and an employee and the economic necessity that might force an employee to ac-
  cept an employer's terms. Brown v. Soh, 280 Conn. 494, 506, 909 A.2d 43, 50.

     Del.Ch.2010. Quot. in case quot. in ftn. Stockholders sued corporation and its officers and directors, al-
  leging that defendants fraudulently induced them to invest in corporation. Granting defendants' motion to dis-
  miss, this court held, inter alia, that the question of how far a contract could go to exculpate fraud under Eng-
  lish law, which governed the parties' agreements, and the English public policies implicated by this question
  was best accomplished by an English court. The court noted that it had previously acknowledged the Restate-
  ment's rule that a term exempting a party from tort liability for harm caused intentionally or recklessly was un-
  enforceable on grounds of public policy, but also noted that it had eschewed the broad recklessness standard in
  the Restatement as Delaware common law. Ashall Homes Ltd. v. ROK Entertainment Group Inc., 992 A.2d
  1239, 1254.

    D.C.App.2007. Subsec. (1) quot. in case quot. in sup. Member of fitness center sued center and one of its
  instructors, claiming that he was injured while participating in a kick-boxing demonstration. The trial court
  granted summary judgment for defendants. Affirming, this court held, inter alia, that the waiver and release
  plaintiff had signed upon accepting membership was valid and enforceable and was a complete defense for de-
  fendants; even where waiver provisions were so broad that they could be construed to exempt a party from li-
  ability for gross negligence or wanton conduct, as argued by plaintiff in this case, the better interpretation of
  the law was to hold only those provisions unenforceable on grounds of public policy, not the entire release.
  Moore v. Waller, 930 A.2d 176, 182.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-51 Filed 11/01/11 Page 56 of
REST 2d CONTR § 195
                                                                       56
                                                                    Page 28
Restatement (Second) of Contracts § 195 (1981)




    Hawaii, 2007. Subsec. (1) and com. (a) quot. in disc., com. (a) cit. in case quot. in sup. Buyer of hotel sued
  hotel's general managers and chief engineer, alleging that defendants, as representatives of seller, failed to dis-
  close certain problems with the condition of the hotel before plaintiff signed the purchase agreement. The trial
  court granted summary judgment for defendants. Affirming, this court concluded that plaintiff's claims for
  breach of fiduciary duty were precluded by the agreement's nonrecourse provision. The court held that a non-
  recourse provision, such as the instant one, that explicitly protected a party from tort liability was permissible
  as long as the agreement was not unconscionable and it was knowingly and willingly made, and was valid to
  the extent that it did not waive liability in situations of intentional or reckless conduct. Laeroc Waikiki Park-
  side, LLC v. K.S.K. (Oahu) Ltd. Partnership, 115 Hawai‘i 201, 166 P.3d 961, 981, 983, 984.

    N.J.2006. Cit. in disc. Minor and his parents sued skateboard-park operator for negligence, after minor al-
  legedly broke his leg when another skateboarder, about whom parents had complained, forced him off a skate-
  board ramp. The trial court dismissed the complaint without prejudice, and ordered arbitration. The appellate
  division reversed in part. Affirming, this court held, inter alia, that parent's execution of a pre-injury release of
  minor's future tort claims arising out of the use of a commercial-recreational facility was unenforceable; negli-
  gent activity on the part of commercial enterprises that attracted children had to be discouraged. Hojnowski v.
  Vans Skate Park, 187 N.J. 323, 901 A.2d 381, 386.

     N.J.Super.App.Div.2009. Cit. in case quot. in sup. Member of fitness club sued club and others, after she
  was injured when the handlebars of a stationary bicycle that she was riding in a group spinning class abruptly
  became detached. The trial court granted summary judgment for defendants, finding that defendants were ab-
  solved from liability under an exculpatory clause in plaintiff's membership agreement with club. Affirming,
  this court held, as a matter of contract interpretation and as a matter of public policy, that the clause only insu-
  lated defendants from ordinary negligence respecting the use of exercise equipment at its facility and did not
  shield defendants from extreme conduct such as reckless, willful or wanton, or palpably unreasonable acts or
  omissions diminishing the safe condition of its equipment; there was, however, no genuine issue of material
  fact that such extreme acts or omissions caused plaintiff's accident. Stelluti v. Casapenn, 408 N.J.Super. 435,
  457, 975 A.2d 494, 507.

                                                       (1981)

REST 2d CONTR § 195

END OF DOCUMENT




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
